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                                           Ex. P




IN RE GEORGIA SENATE BILL 202                      MASTER CASE NO.
                                                   1:12-MI-55555-JPB
GEORGIA STATE CONFERENCE
OF THE NAACP, et al.,

      Plaintiffs,
                                                   Case No. 1:21-CV-01259-JPB
v.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of the
State for the State of Georgia, et al.,

      Defendants.

SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH,
et al.,

      Plaintiffs,                                  CIVIL ACTION
v.
                                                   Case No. 1:21-CV-01284-JPB
BRIAN KEMP, Governor of the State
of Georgia, in his official capacity, et
al.,

      Defendants.
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THE CONCERNED BLACK CLERGY
OF METROPOLITAN ATLANTA,
INC., et al.,

      Plaintiffs,                          Case No. 1:21-CV-01728-JPB

v.

BRAD RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State, et al.,

      Defendants.




                    Expert Report of Dr. Stephen Pettigrew
                        Dr. Stephen Pettigrew
                       University of Pennsylvania
            Program on Opinion Research and Election Studies
 Ronald O. Perelman Center for Political Science and Economics, Suite 406
                           133 S. 36th Street
                        Philadelphia, PA 19104

         On behalf of Plaintiffs in the three above captioned cases.
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Introduction and summary of findings


     My name is Dr. Stephen Pettigrew. I have been retained as an expert witness by the
AME, GA NAACP, and CBC Plaintiffs in this case to provide my analysis and opinions
concerning long lines to vote in Georgia and their consequences, racial disparities in wait
times, and the likely impact of SB202 on wait times. I reserve the right to continue to
supplement my declaration/report in light of additional facts, testimony and/or materials
that may come to light and reserve the right to address a broader scope of issues in any
future report. I hereby declare as follows.

  • Georgia voters spend more time waiting to vote than voters in almost every other state.
    In midterm elections, the average early in-person or Election Day voter in Georgia
    waited more than twice as long as voters in other states (12.6 minutes versus 6.2
    minutes), even after accounting for demographic differences like education, age, or race.
    In presidential elections, Georgia voters waited 1.6 times longer (22.3 minutes versus
    14.2).

  • The 2012 Presidential Commission on Election Administration recommends that no
    voter should have to wait longer than 30 minutes to vote. This recommendation was
    the result of consultation with researchers and practioners and has become the standard
    by which lines are deemed “within reason.” The percentage of voters in Georgia waiting
    more than 30 minutes to vote in recent midterm elections (8.8%) is higher than all
    but one other state. Georgia’s rate in recent presidential elections (22.0%) is the
    third-highest in the country.

  • Non-white voters in Georgia wait in significantly longer lines than white Georgia voters.
    This difference remains even after accounting for differences in population density and
    demographics, like education and age. This finding is consistent with political science
    literature on the topic.

  • Black voters face significantly longer wait times than white voters in Georgia, even
    when comparing white and non-white voters who live within the same county. In the
    November 2020 election, Black voters waited more than 10 minutes longer to vote than
    white voters. Comparable data from the 2022 election is not yet available.

  • Precincts in predominantly non-white neighborhoods tend to function much closer to
    their operational capacity than precincts in predominantly white neighborhoods. This
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   means that applying equal strain to all precincts (like a small, uniform increase in the
   number of in-person voters) will have substantially bigger impacts on line length in
   non-white precincts.

• SB202 is likely to have a negative impact on the length of lines throughout Georgia,
  particularly in precincts that serve racial minorities. While other administrative changes
  (separate from those in SB202) may have a positive impact on the line length, the
  provisions in SB202 will lessen or negate the potential impact of those changes.

• Although SB202 requires an expansion of early voting hours, that change will have
  almost no impact on long lines. Prior to SB202, most counties already offered at least as
  many hours as required by SB202. The Georgia counties with the longest lines already
  offered the most hours of early voting, and will not be required to add hours under the
  new law.

• Waiting in a long line makes a voter less likely to vote in subsequent elections. Policies
  that make election lines longer reshape the electorate and put a thumb on the electoral
  scale. In Georgia, this means discouraging Black and other racial minority voters from
  turning out, while having a smaller impact on white voters’ turnout.

• Voters who experience a long wait to vote are less confident in the integrity of the
  electoral system as a whole. They are less likely to believe their and others’ votes were
  accurately recorded in the final vote count.




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Qualifications


      I have been the Director of Data Science in the Program on Opinion Research and
Election Studies at the University of Pennsylvania and the Deputy Executive Director of the
Robert A. Fox Leadership Program at UPenn since December of 2017.
      I hold a PhD in Political Science from Harvard University, conferred in May 2017. I
received a Masters Degree in Statistics from Harvard in March 2014. I am a proud alum
of the University of Georgia. In May of 2011, I received a Masters in Political Science and
International Affairs and a Bachelor of Arts as a political science and history double major
from UGA.
      Prior to starting at UPenn, I worked as a data scientist and project manager at the
MIT Election Data and Sciences Lab, where my research focused on issues related to election
administration, particularly long lines. In addition to my academic work, I am a consultant
for the NBC News Decision Desk. As a Senior Analyst, I help produce statistical models and
apply them to determine NBC’s projections of winning candidates on election nights.
      I have published nine peer-reviewed articles in journals such as Science, Electoral Studies,
the Election Law Journal, and Political Science Quarterly. I have published research about the
differences in election day wait times between white and non-white voters. My published work
has also demonstrated that waiting in a long line makes voters less likely to vote in subsequent
elections. Some of my other work has focused on voter registration list maintenance and the
processes in place to secure the vote-reporting system on Election Night. More recently, I
have published work on changes to mail ballot rules during the COVID-19 pandemic and
shifts in public opinion about those rules. My research has been covered by a variety of media
outlets including the New York Times, Washington Post, FiveThirtyEight, and the Chronicle
of Higher Education.
      I have also contributed to reports on election administration by non-profit organizations
such as The Pew Charitable Trusts and the Bipartisan Policy Center. I was responsible for a
large proportion of the statistical work that went into the early versions of Pew and MIT’s
Election Performance Index,1 which has become the go-to source for evaluating the efficacy
of states’ election administration processes. I conducted the main statistical analysis and
was a co-author on a report about long lines and polling place resources in the 2016 General
Election For the Bipartisan Policy Center.2
  1
    https://elections.mit.edu
  2
    "Improving the Voter Experience: Reducing Polling Place Wait Times by Measuring Lines and Managing
Polling Place Resources." Bipartisan Policy Center. April 2018. With John Fortier, Tim Harper, Charles
                                                  v
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     In June 2021, I testified before the Congressional Subcommittee on Elections for the
United States House of Representatives about the causes and effects of long lines at election
polling places.3 I was invited as an expert witness to comment on the problem of long lines
to vote in the United States and the legal changes that could help to alleviate the problem.
     I have been asked by above-mentioned plaintiffs to provide a report about long lines to
vote in Georgia. In particular, I was asked to address several questions in this declaration:

   • How long have Georgia voters had to wait in line to vote in recent elections? How does
     this compare to wait times of voters in other states?

   • Are there differences in wait times between white and non-white voters in Georgia?
     Are there particular minority racial or ethnic groups that tend experience noticeably
     longer waits?

   • What impact might SB202 have on election wait times for Georgia voters? How might
     these impacts differ across racial groups?

   • What are the impacts that long lines have on voters? How do long wait times impact
     voter turnout in subsequent elections? How do they impact voter confidence in the
     electoral system as a whole?

     The conclusions, analyses, and opinions of this report are my own. I am being compen-
sated at a rate of $350 per hour for my work. This compensation is not in any way contingent
on the nature of my findings or the outcome of this litigations. I have not previously testified
as an expert at trial or by deposition. I have provided a copy of my full Curriculum Vitae at
the end of this report.




Stewart, and Matthew Weil.
   3
     My written testimony can be found here: https://www.congress.gov/117/meeting/house/112747/witnes
ses/HHRG-117-HA08-Wstate-PettigrewS-20210611.pdf.
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Section 1:             Introduction


     The experience that a voter has at their polling place is an important, yet often
understated, part of the democratic process. Voters who have a positive experience at their
precinct are more likely to have high confidence in the integrity of the electoral system as
a whole and are more likely to continue to turn out in future elections. One factor that
significantly impacts voters’ evaluations of their polling place experience is how long they
had to wait in line to cast their ballot. Because of this, managing the length of lines during
early voting and on Election Day is one of the most important tasks that state and local
election administrators must take on.
     Since at least 2006, election wait times for voters in Georgia have consistently been some
of the worst in the nation.4 Communities of color, particularly Black Georgians, have been
disproportionately affected by the problem. In the 2020 election, non-white voters spent
nearly 50% longer in line than white voters. Across all federal general elections since 2006–the
earliest data available–non-white voters in Georgia have experienced significantly longer lines
to vote than white Georgia voters.
     Based on my analysis of the SB202, I understand that SB202 makes it illegal for non-
partisan groups to distribute provisions like water to people standing in line. This will make
the voting experience worse for people who live in areas afflicted with long lines to vote.
     My analysis also finds that SB202’s restrictions on mail voting will have a significant
impact on the number of people showing up to vote in-person. This will have a negative
impact on the length of lines to vote in Georgia, and will counteract any positive gains made
by other changes to election procedure separate from SB202. The potential impact of SB202
will be larger in precincts with significant minority populations that already function near
their operational capacity. Although the bill does require, for the first time, two days of
Saturday voting during the early/advanced voting period, I find that this requirement will
have no impact on voting hours in most counties–particularly those that tend to have long
lines–because they offered two days of Saturday voting prior to SB202.
     The effect of SB202 on long lines will be strongest in runoff elections. Because the period
between an primary or general election and the subsequent runoff election has been shortened
by SB202 from 9 weeks to 4 weeks, there will be considerably less time for early voting to
occur. SB202 changed the early voting requirements for runoffs, mandating that early voting
   4
    This pattern has been comprehensively noted in the Elections Performance Index. The Pew Charitable
Trusts launched the EPI in 2013, and in 2017 the MIT Election Data and Science Lab took over administration
of the project. More information about the EPI is available at: https://elections-blog.mit.edu/about.
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begin “as soon as possible. . . but no later than the second Monday immediately prior to such
runoff.” Because early voting must conclude by the Friday before a runoff, this leaves just
five required days for early voting and zero required weekend days. Prior to SB202, Georgia
required 16 days of early voting for a runoff election.
      These changes will have one of three consequences on line length and turnout during
runoffs. Voters may continue voting the same way they would in the absence of this law,
and the lines during early voting will be dramatically longer because the same number of
people will try to vote during a shortened early voting period. Alternatively, voters may
switch from voting early to voting on Election Day, and Election Day lines will be longer.
Or, third, voters will not vote and turnout will go down, even if line length stays the same.
As I will show later in this report, the limited data available from the December 2022 Senate
runoff election suggests that the first scenario played out, and lines were catastrophically
long during the shortened early voting period.
      Because of all these changes, SB202 will make exacerbate the problems that it purports
to address. Section 2, paragraph 4 of SB202 states that the purpose of the legislation is to
“address the lack of elector confidence in the election system.” Yet researchers who study
confidence in electoral system have consistently found that voter confidence is closely tied
together with the quality of the experience they have at the polling place. Research by
political scientists suggests that by adding to the length of lines, SB202 will actually make
voters less confident in the electoral system as a whole, less likely to believe that their vote
was counted correctly, and less likely to believe that the contents of their ballot will be kept
secret.
      SB202 also has the potential to diminish turnout. My research, and that of others,
has found that voters who encounter long lines are less likely to turn out to vote in future
elections. All other things equal, roughly one out of every hundred voters who waits at least
30 minutes to vote will not turn out in the next election. Because the effects of the law will
be felt more strongly by Black and other racial minority groups, SB202 puts a thumb on the
electoral scale and makes it more difficult for people of color to vote.
      This report provides analyses that made me reach each of these conclusions. After
providing more detail about the data and analysis used in this report, I describe the current
state of election lines in Georgia, including the differences between racial groups. I then
analyze the impact that SB202 may have on election lines. I conclude with a discussion of
the academic literature that focuses on the consequences of waiting in a long line.




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Section 2:             Data and methods


      Political scientists have been studying the problem of long lines for nearly two decades.
One of the important early questions that they grappled with is how many minutes is
an unreasonably long wait. The answer that has become a benchmark for researchers
and election officials was provided by the bipartisan Presidential Commission on Election
Administration (PCEA). The Commission, convened in 2013 by President Obama, was chaired
by Benjamin Ginsberg, the chief lawyer for Mitt Romney’s 2012 presidential campaign, and
Robert Bauer, the White House Counsel and chief lawyer for the 2008 Obama campaign.
Other commissioners were former State Directors of Elections, county election officials, and
business leaders. The commission’s final report was informed by testimony and research from
academics and other experts on election administration and other related fields.
      One of the charges given to the PCEA was to study the problem of lines at polling
places and provide a set of best practices for election administrators to deal with the problem.
The Final Report of the PCEA recommended in January 2014 that “as a general rule, no
voter should have to wait more than half an hour in order to have an opportunity to vote.”5
They arrived at this standard through consultation with practitioners who had on-the-ground
expertise in the operation of polling places and researchers who had studied Americans’
opinions about the voting experience. Therefore throughout the analyses of this expert report,
I utilize this 30-minute threshold as a benchmark for assessing the areas and types of voters
who are most affected by election lines.
      To evaluate the percentage of voters waiting longer than the 30-minute benchmark, as
well as the average wait time of voters overall, I draw from several data sources and use
analysis techniques that have become standard practice to researchers who study the topic. In
particular, the analysis utilizes survey responses to the Cooperative Election Study (formerly
the Cooperative Congressional Election Study from 2006 to 2019).6 The CES is one of the
largest academic surveys focused on public opinion and elections, and has been supported
financially by the National Science Foundation. In 2020, the CES included a nationally
   5
    “The American Voting Experience: Report and Recommendations of the Presidential Commission on
Election Administration.” January 2014. Quotation from page 14. Emphasis in the original report. At
writing of this testimony, the PCEA Report is available through the U.S. Election Assistance Commission’s
website: https://www.eac.gov/election-officials/pcea.
   6
     A full archive of these data are available at https://cces.gov.harvard.edu/.




                                                   3
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representative sample of 61,000 American adults, including 2,002 Georgians.78 The 2022
version of this study is not yet available.
     Data from the CES is a standard tool for helping political scientists to understand and
study American elections.9 The data are also an invaluable tool for understanding polling
place wait times at the state and sometimes local level. In each even-year study since 2006,10
in-person voters have been asked, “Approximately how long did you have to wait in line to
vote?” Voters are given the option to respond: “Not at all”, “Less than 10 minutes”, “10 - 30
minutes”, “31 minutes - 1 hour”, or “More than 1 hour”. Respondents who indicate that they
waited more than an hour are asked a follow-up question where they can type in the amount
of time they waited.


2.1     Converting survey responses to minutes waited

     For the analysis in this report, I analyzed these data in two ways. First, I considered
the proportion of voters who waited more than 30 minutes to cast their ballot. This follows
the benchmark set by the PCEA Report, which indicated that states and localities should
work to get this percentage to zero. The second way that I analyzed the CES data was
by converting the responses to the survey question into minutes and hours. Following the
convention used throughout the literature,11 the wait time of each respondent was coded
based on the midpoint of their response to the survey question. Those who responded “Not
at all” were coded as having waited 0 minutes; those responding “Less than 10 minutes” were
coded with a 5 minute wait; “10 - 30 minutes” became 20 minutes; and “31 minutes - 1 hour”
was 45 minutes. For respondents who indicated they waited “More than 1 hour”, I recorded
their response to the open-ended follow-up question.12
     This approach of substituting the mid-point of each category to represent a voter’s wait
time has an important consequence for the analyses throughout this report. When comparing
   7
     The principle investigators for the 2020 study were Dr. Stephen Ansolabehere (Harvard University),
Dr. Brian Schaffner (Tufts University), and Sam Luks (YouGov). Researchers from over 50 universities and
colleges across the country and world participated in the creation and analysis of the study.
   8
     The appendix includes a table of the CES national and Georgia sample size in all years
   9
     The website for the study includes a list of over 100 peer-reviewed academic studies that have utilized
this CCES. There are even more published papers than are included on this list: https://cces.gov.harvard.e
du/publications.
  10
     The one exception is 2010. The wait time question was not asked in this year, and thus omitted from my
analyses.
  11
     See, for example, Stephen Pettigrew. 2017. "The Race Gap in Precinct Wait Times: Why Minority
Precincts are Underserved by Local Election Officials." Political Science Quarterly 132.
  12
     Following the convention in the literature, anybody who said they waited more than an hour, but did not
answer the follow-up, was assigned the average of the wait times of other people in their state who waited
more than an hour and did answer the follow-up.


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the average wait time of two groups, this midpoint imputation strategy is likely to understate
how big of a gap exists between their wait times. To understand why, imagine that group A
had a higher percentage of people who selected the “More than 1 hour” category than group
B. It follows, then, that the (true, but unknown) average wait time of the people in group
A who selected “31 minutes - 1 hour” was higher than the average wait time of people in
group B who selected that option. This is because if group A had more people who waited
longer than 1 hour, then they also would have a higher percentage of people who waited (for
example) between 55 and 60 minutes.

        Figure 2.1: Distribution of simulated wait times for two hypothetical groups




     Figure 2.1 illustrates this point. The graph shows the distribution of simulated wait
times from two hypothetical groups of 1000 people. Because the data were simulated, I can
calculate the actual average wait time for people in group A to be 25.2 minutes, and the
average in group B is 13.0 minutes–a gap of 12.2 minutes. When grouping the data into
bins using the vertical lines in the graph, and then apply the midpoint imputation approach
described above, the estimate of the average wait time for group A is 26.2 and group B’s is
14.4–a gap of 11.8 minutes.13
  13
    This simulation analysis highlights that in some cases, the midpoint imputation approach may estimate
group average wait times that are too high. For this reason, throughout this report I focus on comparisons of
average wait times between groups, rather than focusing on the precise estimate of the average wait for an

                                                     5
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    Table 2.1: Actual average wait times within each response category (simulated data)

                               Response                Group A       Group B
                               Not at all              0 min         0 min
                               Less than 10 min        6.4 min       5 min
                               10 to 30 min            19.4 min      17.3 min
                               30 to 60 min            41.1 min      39.8 min
                               More than 1 hr          73.2 min      70.2 min


      This imputation approach underestimated the true gap between the groups. Table 2.1
shows that this is because within the “Less than 10”, “10 to 30 min”, “30 to 60 min”, and
“More than 1 hr” categories, the actual average wait time of people in group A was higher
than the actual average for people in group B.14
      The fact that this midpoint imputation approach underestimates gaps between groups
has big implications for the analyses throughout this report. For example, in the next section,
I compare Georgia’s average wait time to the average wait in all other states, finding a large
and statistically significant gap. The difference is meaningful, even without accounting for
the likelihood that the true difference is probably higher than my estimate. Similarly, when I
find that non-white Georgians wait significantly longer to vote than white Georgians, my
estimates are probably underestimating the racial gap we would find if we knew the exact
number of minutes and seconds that every Georgia voter waited.
      When the CCES was first conducted about 15 years ago, there were questions about
the validity of using the data to study election lines. In the time since, several studies
have solidified the case for its use. Research using other survey data sources, particularly
the Survey of the Performance of American Elections (SPAE), reach similar conclusions to
research using the CES.15 Other non-survey-based studies have also validated the survey-
based estimation approach. One such study was conducted in North Carolina, where election
officials reported wait times during the 2014 election. These reports had a statistically
significant correlation16 with the survey-based reports of wait times by voters throughout the
individual group. By always having a reference group as a point of comparison, I ensure that even if the
exact estimate of an individual group is too high, I am drawing conclusions based on differences between
group estimates that are likely to be too low.
  14
     This does not apply to the "Not at all" category, where everybody had a wait time of exactly 0 minutes.
  15
     Charles Stewart III. 2020. “How We Voted in 2020: A Topical Look at the Survey of the Performance of
American Elections.” MIT Election Data and Science Lab. http://electionlab.mit.edu/sites/default/files/2021-
03/HowWeVotedIn2020-March2021.pdf
  16
     A statistically significant correlation is one that is unlikely to have arisen due to purely random chance.




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state.17 Other studies have used wait time reports by polling place observers,18 line length
reports from poll workers,19 and even cell phone tracking data20 to help understand wait
times at polling places. In each case, these other methodologies reach similar conclusions as
research which uses survey-based measures.


2.2     Self-reported versus verified voters

     There is one other methodological consideration to using survey data. Political scientists
have long noted that survey respondents tend to report having turned out to vote at rates
that are higher than the true turnout rate. This means that in a survey like the CES, there
are some respondents who say that they voted (and perhaps even report how long they waited
to vote) even though they did not actually vote. We see this in the 2020 CES, where 91% of
respondents who indicated that they had voted. The turn turnout in Georgia in that election
was 68%.21 .
     One solution to this problem is a process called voter verification. To do vote verification,
the company or organization administering the survey attempts to match the people who
replied to the survey with publicly available voter file information from states. Survey
respondents are thus categorized as a “verified voter” (i.e. successfully matched to the voter
registration file, which indicates that they voted), a “verified non-voter” (successfully matched
to the voter registration file, which indicates that they did not vote), and a “non-verified
voter” (not successfully matched to the voter file).
     Ideally, all survey respondents who actually voted would be matched to the voter file,
and the turnout rate calculated would be exactly the same as the true turnout rate (based on
total ballots cast). Unfortunately, the vote verification process is not close to ideal. The vote
  17
     MIT Election Data and Science Lab. August 2018. “Elections Performance Index Methodology Report.”
https://elections-blog.mit.edu/sites/default/files/2020-08/2016-epi-methodology.pdf, pp 79-81.
  18
     Stein, et. al. 2019. "Waiting to Vote in the 2016 Presidential Election: Evidence from a Multi-County
Study." Political Research Quarterly 73(2).
Douglas M. Spencer and Zachary S. Markovits. 2010. "Long Lines at Polling Stations? Observations from an
Election Day Field Study." Election Law Journal: Rules, Politics, and Policy 9.
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     Matthew Weil, Tim Harper, Charles Stewart III, and Christopher Thomas. 2019. "The 2018 Voting
Experience: Polling Place Lines." Bipartisan Policy Center.
John C. Fortier, Matthew Weil, Charles Stewart III, Tim Harper, and Stephen Pettigrew. 2018. "Improving
the Voter Experience. Reducing Polling Place Wait Times by Measuring Lines and Managing Polling Place
Resources." Bipartisan Policy Center.
United States Government Accountability Office. "Observations on Wait Times for Voters on Election Day
2012."GAO-14-850.
  20
     M. Keith Chen, Kareem Haggag, Devin G. Pope, and Ryne Rohla. 2021. "Racial Disparities in Voting
Wait Times: Evidence from Smartphone Data." Conditionally accepted at The Review of Economics and
Statistics.
  21
     See: http://www.electproject.org/2020g


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verification process in the 2020 CES suggests that Georgia’s turnout rate was just 51%. This
is almost as far away from the true turnout of 68% as the estimate based on self-reported
turnout. This presents a difficult choice between analyzing the wait times of all self-reported
voters, or only analyzing the wait times of verified voters. Throughout this report I chose to
analyze self-reported voters, for reasons that I will explain here.
      The biggest consideration is that restricting the analysis to verified voters would needlessly
diminish the sample size of the analysis. This may not be a big deal when analyzing the
country as a whole, but for this report, I’m restricting my focus to Georgia, where there were
only 2002 people who responded to the CES in 2020. Restricting to verified Georgia voters
cuts this number to 1,160, the sample diminishes further when we consider that only 290 of
those verified voters were Black.
      The loss of sample size from restricting the analysis to verified voters could be justified
if it provided an unbiased picture of the electorate. Unfortunately, political science research
has found that the vote verification process produces results that are biased in several ways.
More than one-in-ten Americans are not listed in the commercial databases used for vote
verificatoin, and another 12% of people have errors in their records.22 More importantly,
certain demographic groups are more difficult to identify in the vote verification process.23
Voters who tend to move more often–like young people and poor people–are also more difficult
to identify in voter registration records.24 Together, these sources of imprecision and bias in
a verified voter-based analysis tarnishes the reliability of its results, and add the additional
cost of a smaller sample.
      With all that in mind, the question is whether the choice of analyzing self-reported or
verified voters could change the results. In the case of the CES survey, the answer is no.
The two panels in figure 2.2 show estimates of wait times for all self-reported voters (on the
horizontal axis) and all verified voters (on the vertical axis). When estimating the percent
of voters who waited over 30 minutes (top panel) or the average wait time (bottom panel),
there is an extremely high correlation between the estimates based on self-reported voters
and those based on verified voters. The correlation coefficients are 0.98 for both graphs.25
      Going a step further, I divided the survey respondents between those with a verified
record of voting (same as the vertical axis in Figure 2.2) and those who said they voted, but
did not have a verified record (similar to the horizontal axis of Figure 2.2, but removing
  22
     Simon Jackman and Bradley Spahn. 2021. "Politically Invisible in America." PS: Political Science and
Politics. 54(4).
  23
     Ruth Igielnik, Scott Keeter, Courtney Kennedy, and Bradley Spahn. 2018. "Commercial Voter Files and
the Study of U.S. Politics." Pew Research Center.
  24
     Ansolabehere S, Hersh E, Shepsle K. 2012. "Movers, Stayers, and Registration: Why Age is Correlated
with Registration in the U.S." Quarterly Journal of Political Science. 17 (4).
  25
     Regression shows that each of these correlations are statistically significant (p<0.001).

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those with a verified vote record). Even this more difficult statistical test finds very strong
correlations. The correlation in the percent of each group waiting over 30 minutes is 0.81,
and the correlation in average wait times is 0.84.26
      What these strong correlations tell us is that there are not big differences between the
self-reported voters with and without a verified voting record. For the results throughout this
report to be caused by the choice of analyzing self-reported voters, there must be systematic
differences between the wait times reported by verified voters and those reported by non-
verified, but self-reported voters. Furthermore, for this analysis choice to affect estimates of
the gap between white and non-white voters, at least one of two things would have to be true.
Non-white respondents who did not vote (even though they said they did) would have to
report wait times that were higher than what they would have experienced had they voted.
Or alternatively, white respondents who inaccurately claimed to have voted would have to
report wait times that were lower than they would have experienced had they voted. In other
words, their responses would have to be systematically out-of-sync with the experience of
other people in their neighborhood with a similar demographic profile. The results above
suggest that these systematic differences do not exist in the data. Analyzing self-reported
voters does not create bias, and it provides a larger sample size for the analysis.




  26
       Both of these correlations are statistically significant (p<0.001).
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                            Figure 2.2:




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Section 3:               Wait times in recent elections in Georgia


     Since at least the 2006 general election,27 voters in Georgia have experienced polling
place lines that are significantly longer than voters throughout the rest of the country. In
the November 2020 election, over 900,000 Georgia voters waited longer than 30 minutes to
cast their ballot. In all, 24.6% of early in-person and Election Day voters in Georgia waited
in a line for longer than the PCEA-recommended 30 minute maximum. This percentage is
significantly higher (p < 0.01) than the percentage of in-person and Election Day voters in
all other states – 17.2%.
     In terms of minutes, the average Georgia voter in 2020 waited 27.4 minutes to cast
their ballot. This means that the average wait time experienced by Georgians was nearly as
long as the PCEA’s recommendation for the maximum wait time. For non-white voters, the
average wait was even longer–34.2 minutes–while white Georgia voters waited on average
24.3 minutes.28 While lines in 2020 tended to be longer in parts of the country, in-person
voters outside of Georgia only waited an average of 17.8 minutes.29


3.1      Georgia voters are more likely to face longer than 30 minute
         waits to vote

     This pattern of election wait times being signficantly longer in Georgia than elsewhere
is not a uniquely 2020 phenomenon. My analysis of past CES data finds that, on average,
Georgia voters are nearly twice as likely to experience an unacceptably long wait to vote and
spend more than 50 percent more minutes in line than voters elsewhere. Figure 3.1 shows
the percentage of voters who waited more than 30 minutes to vote in Georgia and in all
other states. The left side of the graph shows that in the 2006, 2014, and 2018 midterm
elections, 3.8% of in-person voters outside of Georgia waited more than a half hour, while
8.8% of in-person Georgia voters waited this long (p < 0.01 for this difference).30 Similarly,
in presidential elections between 2008 and 2020, 22.0% of Georgia voters waited 30 minutes,
  27
      This is the first year these data were collected.
  28
      This difference in average wait times between white and non-white Georgians is statistically significant
(p > 0.01)
   29
      This difference of 9.5 minutes between wait times inside and outside of Georgia is statistically significant
(p < 0.01).
   30
      I also replicated all the analyses in this section on data from the 2008 through 2020 Survey of the
Performance of American Elections (SPAE). These results yield nearly identical conclusions to the CES data,
and are provided in appendix section A.2.

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             Figure 3.1: Voters waiting more than 30 minutes in recent elections




while just 12.9% of non-Georgia voters did.31
     Figure 3.2 highlights the extent to which Georgia stands out from other states. In
midterm elections, the percentage of Georgia voters experiencing a 30 minute wait was higher
than every state except one. And in presidential years, this percentage was higher in Georgia
than every state except two. When I pull apart the data even further, I find that in years
with available data, Georgia has never been better than eighth worst among its peers in
presidential elections, and tenth worst in midterms.32
     One feature of Georgia elections that could account for these long wait times is the fact
that Georgia typically has large numbers of voters who cast ballots during the early voting
period. Across the country, wait times tend to be longer during early voting than on Election
Day, so this could potentially explain why Georgia’s lines are longer than nearly all other
states.
     Figure 3.3 shows that this does not explain away the long line problem in Georgia. While
early voters do tend to wait longer than their Election Day counterparts, Georgians still tend
to be significantly more likely to face a long line than non-Georgians. Roughly 1-in-5 early
voters in Georgia (20.1%) waited more than 30 minutes, while only 13.2% of early voters
  31
    The figures in Appendix section A.3 shows that these patterns are not unique to drawing the line at 30
minutes. Georgia voters are also significantly more likely to wait longer than 60 minutes to vote as well.
 32
    Figures showing the results in each state are found in appendix section A.4.

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                 Figure 3.2: Voters waiting more than 30 minutes, by state




outside of Georgia waited that long. And on Election Day, 14.2% of Georgia voters faced an
unreasonably long wait, compared to just 8.4% of voters from other states.


3.2    Georgia voters spend more time in line than voters in nearly
       every other state

      Another standard approach that political scientists use to study election lines is by
considering the average number of minutes that voters waited. After converting the survey
responses into hours and minutes (following the methodological approach described in section
2), I considered whether the patterns identified in the prior sub-section hold up using this
different measure of line length.
      Figure 3.4 underscores that no matter the approach used to measure line length, Georgia
stands out as having particularly lengthy wait times. The left side of the graph shows
that Georgia voters have average wait times that are significantly longer (p < 0.01) than
non-Georgians. It’s particularly striking that in midterm elections, the average Georgia voter
waits nearly twice as long as voters in other states – 12.4 minutes compared to 6.4 minutes.

                                             13
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            Figure 3.3: Voters waiting more than 30 minutes, by mode of vote




                 Figure 3.4: Average wait time of voters in recent elections




The right side of the graph shows that breaking down the data by mode of vote (i.e. early
in-person or Election Day in-person) reveals a similar pattern of Georgia voters experiencing
particularly long waits.

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                         Figure 3.5: Average wait time of voters, by state




     In midterm elections, the average wait time of voters (see Figure 3.5) in Georgia is longer
than every state except South Carolina. And in presidential elections, Georgians wait longer
than voters in all but three states. When the data are broken down into individual years,
Georgia still fares no better than fifth worst in midterms and seventh worst in presidential
elections (see appendix section A.4).
     The consistency of these results paints a clear picture, and raises the question of whether
the differences between Georgia and other states is simply because the demographic profile of
Georgia voters is meaningfully different from other states. To test this possibility, I follow
the convention of the academic literature and use linear regression (OLS) to control for
demographic factors like age, education, race, and gender.33 Each of these attributes are
known in the political science literature to be strong predictors of voter turnout and line
length, so controlling for them in a regression allows me to test whether Georgia’s long lines
are attributable to something more than these factors.
     Table 1 shows the results of nine separate regressions using different subsets of the data
  33
     In the regressions, I operationalize race as whether or not the voter is white and education as whether or
not she has a bachelors degree. Age is coded in years, and gender is coded as a dichotomous variable.


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  Table 3.1: Voters waiting over 30 minutes, from regressions with demographic controls

       Year           Voters               Other states     Georgia         Difference       P value
       All            All in-person        9.5% (0.1)       16.7% (0.4)     7.1pp. (0.4)     <0.01
       Midterms       All in-person        3.8% (0.1)       9.3% (0.4)      5.6pp. (0.4)     <0.01
       Presidential   All in-person        12.9% (0.1)      21.3% (0.5)     8.5pp. (0.6)     <0.01
       All            Early in-person      13.2% (0.2)      19.8% (0.6)     6.6pp. (0.6)     <0.01
       Midterms       Early in-person      4.8% (0.2)       9.4% (0.7)      4.6pp. (0.7)     <0.01
       Presidential   Early in-person      16.9% (0.2)      25.3% (0.8)     8.4pp. (0.8)     <0.01
       All            Election Day         8.2% (0.1)       13.2% (0.5)     5.0pp. (0.5)     <0.01
       Midterms       Election Day         3.5% (0.1)       9.2% (0.6)      5.8pp. (0.6)     <0.01
       Presidential   Election Day         11.1% (0.1)      16.3% (0.8)     5.2pp. (0.8)     <0.01

           Table 3.2: Average wait time, from regressions with demographic controls

       Year           Voters               Other states      Georgia       Difference        P value
       All            All in-person        11.3 (0.1)        18.5 (0.3)    7.3min. (0.3)     <0.01
       Midterms       All in-person        6.2 (0.1)         12.6 (0.3)    6.4min. (0.3)     <0.01
       Presidential   All in-person        14.2 (0.1)        22.3 (0.4)    8.1min. (0.4)     <0.01
       All            Early in-person      14.8 (0.1)        22.5 (0.5)    7.7min. (0.5)     <0.01
       Midterms       Early in-person      7.0 (0.1)         12.7 (0.5)    5.6min. (0.5)     <0.01
       Presidential   Early in-person      18.2 (0.2)        27.8 (0.7)    9.6min. (0.7)     <0.01
       All            Election Day         9.9 (0.1)         14.0 (0.4)    4.1min. (0.4)     <0.01
       Midterms       Election Day         6.0 (0.1)         12.5 (0.4)    6.5min. (0.4)     <0.01
       Presidential   Election Day         12.4 (0.1)        15.3 (0.6)    2.8min. (0.6)     <0.01


based on election type (midterm, presidential, all years) and vote mode (early in-person,
Election Day, or both). No matter how the data are sliced, Georgia consistently has a higher
percentage of voters who waited more than 30 minutes to cast their ballot. These differences,
which are statistically significant in every regression (p < 0.01), range from Georgians being
4.6 to 8.5 percentage points more likely to encounter a line that is longer than the PCEA’s
30-minute ceiling of acceptability. This pattern persists when we look at each individual
election year. In every year for which we have data, there is a consistent pattern of Georgians
waiting significantly longer to vote (whether on Election Day or early) than voters in other
states.34
     Table 2 presents similar results, this time using average wait time as the outcome
variable in the regression. Like before, Georgians wait significantly (p < 0.01) longer than
  34
    There are 15 instances where Georgians waited significantly longer than non-Georgians. I find zero cases
where the average wait for Georgians is significantly shorter than elsewhere. There were three cases (2012
early voters and 2012 and 2020 Election Day voters) where there was not a significant difference in waiting
times between Georgians and non-Georgians. These results are found in appendix section A.5.

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non-Georgians. The biggest of these discrepencies occurs in presidential elections among
early in-person voters, who wait 9.6 minutes longer in Georgia (27.8 minutes) than in other
states (18.2 minutes).


3.3     Non-white voters in Georgia wait significantly longer to vote

     One major concern about long lines being a chronic problem is that some voters must
budget a lengthy portion of their day every time they want to cast a ballot, while other
voters may go years without ever standing in a line. As I discuss in this section, non-white
voters are more likely to be in the first category, and white voters are more likely to be in
the second.
     Political science researchers have noted this consistent relationship between race and
wait times. It is one of the most robust findings to emerge from these studies. Researchers
have found that non-white voters tend to wait longer than white voters by using survey
data,35 leveraging poll closing times,36 stationing observers outside of polling places to record
information about the flow of voters,37 partnering with local officials to have poll workers
record information about line lengths throughout the day,38 and using cell phone tracking
data.39 Every one of these research approaches has shown that lines tend to be shorter
in precincts with higher proportions of white voters and longer in precincts with higher
proportions of non-white voters.
     Figure 3.6 illustrates that this trend holds in Georgia. This bar graph shows percentage
of Georgia voters who waited at least 30 minute to vote,40 broken down by whether the voter
  35
     Pettigrew 2017.
Charles Stewart III. 2013. "Waiting to Vote in 2012." Journal of Law & Politics 28(4).
Charles Stewart III and Stephen Ansolabehere. 2015. "Waiting to Vote." Election Law Journal: Rules,
Politics, and Policy 14(1).
  36
     Stephen Pettigrew. 2021. "The Downstream Consequences of Long Waits: How Lines at the Precinct
Depress Future Turnout." Electoral Studies 71.
Michael C. Herron and Daniel A. Smith. 2015. "Precinct Closing Times in Florida During the 2012 General
Election." Election Law Journal: Rules, Politics, and Policy 14(3).
Christopher Famighetti, Amanda Melillo, and Myrna Pérez. 2014. "Election Day Long Lines: Resource
Allocation." Brennan Center for Justice.
  37
     Stein, et al. 2020.
Spencer and Markovits 2010.
  38
    Weil, Harper, Stewart, and Thomas 2019.
Fortier, Weil, Stewart, Harper, and Pettigrew 2018.
United States Government Accountability Office. 2013.
  39
     Chen, Haggag, Pope, and Rohla 2021.
  40
     The black bars are 95% confidence intervals around the estimate. A confidence interval is similar to a
margin of error. In this instance, our best estimate of the true percentage is the top of each colored bar, and
the black bars signify the margin of error around that best estimate.



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          Figure 3.6: Percentage of white and non-white voters waiting 30+ minutes




was white or a person of color.41 As these results show, white voters are less likely than voters
of color to have to wait at least 30 minutes to vote, particularly in presidential elections.42
     For presidential elections, non-white voters are about 7.2 percentage points more likely
to experience a 30 minute wait during the early voting period than white voters.43 And they
are 5.3 percentage points more likely to experience a 30 minute line on a presidential Election
Day.44
     Lines tend to be shorter for everybody during midterm elections, so the discrepancy
between white and non-white voters is smaller. Still, my analysis estimates that people
of color are slightly more likely to experience a long line during early and Election Day
voting for a midterm. As I discuss in Section 4 this makes polling places in areas resided in
predominantly by people of color much more susceptible to dramatic increases in wait times
as a result of SB202.
     Digging a little more closely into the data, Figure A.10 separates voters of color into
  41
     Throughout this section, I will use “people of color” to denote anybody who is not both white and
non-Hispanic.
  42
     I also replicated this analysis using the average wait time (in minutes) as the outcome of interest. This
analysis also found that non-white voters’ average wait was significantly longer than white voters. The figure
with these results can be found in Figure A.9 in Appendix Section A.6.
  43
     Statistically significant at p < 0.001
  44
     Statistically significant at p < 0.01.


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                      Figure 3.7: Percent waiting over 30 minutes, by race




three categories: Black, Hispanic, and all other racial groups.45 The patterns here are most
clear for Black voters, who are consistently more likely than white voters to experience a long
line. With the exception of Election Day voting during midterms, the average wait time for
Black voters is significantly longer than those of white voters. I also find that Hispanic voters
wait significantly longer than white voters on Election Day during presidential elections. They
also reported longer average wait times in presidential early voting and midterm Election
Day voting, although those results are not statistically significant, owing to the fact that
Hispanic voters are a much smaller group of Georgians than white or Black voters, so data
about them were limited.
     Figure 3.8 shows that these patterns are not driven by just one or two elections. In
every general election where data exist, I find that people of color in Georgia have an average
wait time that is longer than the average for white Georgia voters. In 2020, this difference
was nearly ten minutes (p < 0.01). Comparing the changes from 2016 to 2020 illustrates
that the added strain of pandemic-related protocols in precincts had dramatically different
impacts on areas with significant minority populations, compared to areas predominantly
with predominantly white residents. Even though the race gap in wait times was relatively
small in 2016, compared to 2012 and 2008, the gap ballooned in 2020. The average wait
  45
    The analogous graph showing these results for the percent waiting more than 30 minutes is in Figure 3.7
in the appendix.
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           Figure 3.8: Average wait time of white and non-white voters, by year




time among people of color increased by 100% from 2016 to 2020, while it only increased by
60% for white voters. This is further evidence that predominantly non-white polling places
operate much closer to their operational capacity than white precincts, meaning that added
strain from administrative changes due to the pandemic or from SB202 will have a much
bigger impact on them.


3.3.1     Accounting for other disparities between white and non-white
          voters
      What explains these racial disparities in wait times for Georgia voters? One possible
explanation for these differences by race could be that white voters tend to live in very
different types of places than non-white voters. If, for example, Black voters are more likely
to live in urban areas, and the logistics of voting are more complicated in urban areas, then
that could provide an explanation for the results shown in the previous graphs. Similarly,
researchers have found that education is strongly predictive of whether somebody turns out
to vote,46 and there are significant differences in the rates of college education between white
and non-white voters. Higher turnout rates can also create longer lines–particularly if local
  46
     See, for example Rachel Milstein Sondheimer and Donald P. Green. 2009. "Using Experiments to
Estimate the Effects of Education on Voter Turnout." American Journal of Political Science 54(1).

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election officials do not anticipate or have the resources to deal with the extra congestion at
polling places.
      My research, published in Political Science Quarterly, answers the question of whether
the racial gap in wait times is driven by factors like these.47 To do that study, I used regression
and other statistical techniques to compare white and non-white voters who lived in similar
contexts to each other. In essence, I compared (for example) white voters in Fulton County to
voters of color in Fulton County, and college-educated white voters to college-educated voters
of color. Using data from across the US, I find that although factors like these do explain
a small piece of the racial gap in wait times, they do not provide a full explanation. Even
after controlling for these other factors, I still find that precincts resided in predominantly by
people of color have an average wait time that is twice as long as precincts with residents
who are predominantly white. And I find that minority voters are six times more likely than
white voters to wait longer than 60 minutes to vote. In my analysis of data from Georgia, I
utilized these same statistical techniques to assess whether the racial differences in Georgia
wait times is attributed to, for example, an urban-rural divide.
      Figure 3.9 provides a preliminary indication that the patterns in Georgia are not simply
a consequence of population density. The figure shows the average wait time of white voters
across all available years (on the x-axis) and the average wait of people of color (on the y-axis).
Each dot represents a county in Georgia. Because Georgia is divided into 159 counties, data
were extremely thin in many of them. The graph here presents data from only the 47 counties
with data from at least five white voters and five people of color, across all the years of
responses.48
      Although the sample size of individual counties are small, this graph provides some
initial evidence that within counties, where differences in population density tend to be much
smaller than density differences between counties, people of color are more likely to wait in a
longer line to vote. In two-thirds of these counties non-white voters reported a longer average
wait time than the white voters in their county.49
  47
      Stephen Pettigrew. 2017. "The Race Gap in Precinct Wait Times: Why Minority Precincts are
Underserved by Local Election Officials." Political Science Quarterly 132.
   48
      Out of the 112 “missing” counties, 41 counties had either zero white survey respondents or zero non-white
respondents, 30 counties had just one white or non-white respondent, and 20 counties had just two white or
non-white respondents. I am constrained by the small sample sizes in most Georgia counties from choosing a
threshold higher than 5. Research suggests, however, that line lengths are highly correlated within small
geographic regions like counties. This means that estimating a county’s average wait time requires a smaller
sample size than if this geographic correlation did not exist. For further analysis on this point, see Appendix
2 in my research in “The Downstream Consequences of Long Waits.” Electoral Studies. 71. June 2021.
   49
     When I calculate this statistic using all 112 counties where we have at least one white and one non-white
respondent, the value is 58.5%, although nearly half of the counties included in that calculation have just one
or two white or non-white survey-takers.


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               Figure 3.9: Average wait times in recent elections, by county




     To further analyze this relationship using a larger sample, I estimated regressions that
simultaneously control for race, age, education, and early versus Election Day voters, while
comparing voters within the same county and same election (using county and year fixed-
effects). In one set of these regressions, race was coded as white/people of color, while in
another set of these regressions I used four racial categories: white, Black, Hispanic, and
other race.
     Figure 3.10 presents the main results for these two regression. Each bar represents the
average difference in wait times for each racial group, as compared to white voters, after
                                             22
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                     Figure 3.10: Wait times in all election years since 2006




controlling for all the factors listed above. In the regression comparing white voters to all
people of color, I find that people of color tend to wait 2.79 minutes longer than white voters,
and this difference is statistically significantly different from a difference of zero (p < 0.01).50
In the second regression, I find that Black Georgia voters wait significantly longer (p < 0.01)
than white voters by 3.64 minutes. I do not find that Hispanic voters and voters of other
races/ethnicities have significant differences in average wait times than white voters, but this
is this is attributable to small sample sizes resulting in large margins of error around the wait
time estimates for those groups.51
      The results from pooling all election years does find evidence of a significant racial gap
in wait times, although the magnitude of this effect is not enormous. This owes largely to the
fact that midterm elections often can have shorter lines, so this makes for a smaller potential
racial gap. When I separate out the data and only look at presidential election years, in
Figure 3.11, I find that the sizes of the effects grow.52 Non-white voters wait 5.05 minutes
longer than white ones (p < 0.01) and Black Georgians wait 5.29 minutes longer (p < 0.01).
Also, after disentangling presidential and midterm elections, I find that voters in other racial
  50
     A full table of these regression results is available in Table A.4 in Appendix Section A.6.
  51
     For context, the 2020 CES study had only 83 Hispanic respondents in Georgia. Only 47 of them voted
and only 25 voted in person. For this type of statistical test where we’re comparing voters from across the
state, a sample size of 25 is unlikely to be big enough to draw conclusions.
  52
     A full table of these regression results is available in Table A.5 in Appendix Section A.6.
                                                    23
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                         Figure 3.11: Wait times in presidential election years




groups (primarily Asian-Americans and Native Americans) wait 6.95 minutes longer than
white voters in presidential elections (p < 0.05). I do not find a statistlcally significant result
for Hispanic voters, although this seems to be in part driven by the fact that there are only
170 Hispanic voters in this specific subset of the data, compared to 2,589 white voters.
     Lastly, I analyzed what these differences looked like in the November 2020 election.
Based on Figure 3.12, voters of color waited 10.45 minutes longer, on average, than white
voters in 2020 (p < 0.01).53 Black voters waited 10.49 minutes longer (p < 0.05), and voters
of other races waited 14.35 longer (p < 0.05).
     These findings are particularly relevant when we consider the potential impact of SB202
on election lines. As I will describe in the next section, researchers have found that applying
equal amounts of additional strain on two precincts can have dramatically different effects on
the length of lines in those precincts, depending on the amount of strain those precincts were
under prior to the new strain being applied. Precincts in predominantly Black neighborhoods
tend to already be under more strain and closer to operating capacity than precincts in
predominantly white neighborhoods, so the changes in SB202 will have substantially larger
impacts on line length in precincts that serve mostly Black voters, even if white and non-white
voters react to SB202 in similar ways.

  53
       A full table of these regression results is available in Table A.6 in Appendix Section A.6.
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               Figure 3.12: Wait times in November 2020




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Section 4:           Impact of SB202’s line relief ban on wait
                     times


     There are several provisions in SB202 that will have an impact on whether voters
experience long lines to vote. Broadly speaking, these provisions fall into one of two categories.
First, there are sections of the law that increase the burden on voters who are experiencing a
long line. Second, there are changes that will increase the length of lines, particularly in areas
with high concentrations of racial minority voters. The most impactful of these changes are
the alterations to the vote-by-mail process and the runoff election schedule. These changes
will have the consequence of either decreasing turnout overall or pushing more voters toward
voting in-person, thereby increasing the length of lines.
     It is also worth noting here that SB202 is not the only factor that may increase or
decrease the length of lines in Georgia elections. The state or individual counties may alter
their administrative procedures or voting technology, and those changes may have an impact
on length length. But even if those changes have a positive impact on line length, that
does not mean that SB202 does not have a net-negative impact on lines. And in fact, the
money and effort spent by the state or counties on those line mitigation efforts may not be
as necessary if SB202 were not the law.


4.1     SB202 places new burdens on voters waiting in line

4.1.1     Ban on providing food or water to voters in line
     One of the changes that most directly pertains to voters waiting in line is Section 33 of
SB202. This section amends Code Section 21-2-414(a) by banning any person from giving
or offering any food or drink to a voter standing in line. The section further prohibits any
person, including all non-profit, non-partisan groups from setting up water or snack stations
that are within 150 feet of a polling place or within 25 feet of any voter standing in line.
     These new rules mean that if an organization wanted to set up such a table under those
guidelines, voters would be required to leave line and travel at least 25 feet to retrieve a cup
or bottle of water, potentially risking their place in line. This is especially problematic after
polls have closed, because leaving the line to get water makes it possible that the voter would
lose their chance to vote at all. This is particularly concern during statewide primary and
primary run-off elections, which tend to be scheduled in the hot months of May or June in

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Georgia.
      The language of the law is absolute in describing this ban on offering food or water to
anybody in line. It makes it a crime for a voter to share their water bottle with another voter
in line. If an organization sets up a table for distributing water that is in compliance with this
law, and a voter leaves the line to go to that table, that voter could face criminal penalties
for bringing a second cup or bottle to another person who stayed in line. The law does allow
for (but does not mandate) poll workers to set up self-service water stations, but voters are
still required to leave the line to use it. And those voters could face criminal penalties for
retrieving extra water bottles for others in line.
      This provision of SB202 has been described as a way to cut down on vote buying or
other types of corruption. Georgia’s Election Code already makes it a felony for somebody to
“offer to give or receive. . . money or gifts for the purpose of. . . voting for a particular candidate
in any primary or election.”54 And I know of no research that shows that this type of vote
buying or corruption has ever occurred at polling places in Georgia in modern elections.
      I am similarly unaware of any other state that has banned all food or beverage distri-
butions no matter the distance from the polling place, irrespective of intent or the minimal
value of such items. Given this, and given the fact that Georgia’s election law already has an
explicit ban on vote buying, the consequence of including this provision in SB202 is that is
will make the voting experience worse for voters in areas with chronically long lines, while
having no impact on vote buying.
      I also know of no other state that defines the boundary line for electioneering or
campaigning near a polling place using a movable reference point-the location of voters in
line. It is not uncommon for polling places in some areas of Georgia to have lines that extend
well beyond 600 feet. In the 2020 general election, for example, journalists documented lines
that extended more than a thousand feet from the polling place.55
      The impact that this restriction has on Georgia voters is clear. Imagine that a non-profit
organization sets up a water station at the beginning of the day that is 300 feet away from a
polling place–fully in compliance with Georgia’s election code. As the line of voters grows
and shrinks throughout the day, this water station could oscillate inside or outside of the
25-foot boundary defined by SB202, despite the station never changing its physical location.
This makes it virtually impossible for organizations to remain in compliance with the law,
particularly because they are most likely to set up refreshment stations at polling places
  54
    O.C.G.A. 21-2-570
  55
    See: https://www.theguardian.com/us-news/2020/oct/13/more-than-10-hour-wait-and-long-lines-as-
early-voting-starts-in-georgia; https://www.independent.co.uk/news/world/americas/us-election/georgia-
election-early-voting-long-lines-2020-election-b1041310.html; https://www.nbcnews.com/politics/2020-
election/early-voting-begins-georgia-long-lines-high-turnout-n1242995

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where lines are expected to be the longest. This discourages those organizations from setting
up these relief stations at all, making the experience of waiting in a long line even worse for
Georgia voters.
     In the absence of relief stations, SB202 sets up a realistic scenario of a voter being denied
the ability to cast a ballot. At the time of polls closing, any voter that is in line can cast a
ballot as long as they do not get out of line. A voter at the end of the day could be denied
the right to vote if they step out of line to use a water fountain or to retrieve water from
a line relief station that is set up in accordance with SB202’s restrictions. This was not a
problem prior to SB202 because line relief organizations could bring water bottles to voters
standing in line.
     This concern does not just apply to voters in line at the end of the day. When voting
lines extend a long distance from the precinct building, a voter returning to the line after
retrieving water are at the mercy of those around them in line to let them back in. Otherwise,
they may have to join the end of the line or may leave entirely and not vote at all. None of
this was a concern prior to SB202, because line relief organizations could provide water and
snacks to voters while they stayed in line.
     Lastly, SB202’s strict rules about line relief make simple, helpful acts illegal. Imagine
a voter who wishes to get water and those around them in line assure them that they can
hold their spot in the line. If that voter returns with a second bottle of water for the person
who held their spot, or even shared their water bottle with a family member, they would
be committing a crime under SB202. The law is clear on this point: “nor shall any person
give. . . any money or gifts, including, but not limited to, food or drink, to an elector.” SB202
criminalizes getting out of line to refill a bottle of water at a water fountain and then sharing
it with a family member or anybody else in line.
     The line relief provisions in SB202 will have the largest impact on voters who live in
areas that already tend to have long lines. As I showed in my earlier analysis, racial minority
(particularly Black) voters in Georgia tend to face longer wait times than white voters. Any
law that makes waiting in a long line more difficult or uncomfortable will disproportionately
impact on people who are most likely to encounter such a line. In Georgia, those voters tend
to be non-white.


4.2    SB202 will negatively affect wait times

     There are several provisions in SB202 that will have an impact on the logistics and flow
of voters through polling places. Political scientists who study election lines have relied on
the findings of queueing theory to help understand the impact that policy changes can have

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on lines. Queueing theory is a branch of mathematics and operations research that provides
explanations for how and why lines or queues form. The principles of queueing theory have
been applied to the understanding of traffic on a highway, lines in grocery stores, computer
processor efficiency, and in recent years, lines at polling places.
     When it comes to election lines, queueing theory shows that one of the biggest things
that can impact how long voters wait to vote is the number of voters who show up. Just
as bottlenecks on the highway are more likely to occur when more cars are on the road at
rush-hour, bottlenecks are more likely to occur a polling place when too many voters show
up at once. Poll workers can only check-in so many voters per hour and there are a finite
number of voting machines on which to cast a ballot. When the number of arrivals push
past the logistical capacity of the polling place, lines form. As the number of arrivals grows
linearly, wait times grow exponentially.
     These principles are closely related to another idea in queueing theory: the “elbow of
death.” Researchers have coloquially used this term to describe when a polling place has
reached its operational capacity and new voters arriving to vote cause wait times to grow
exponentially.[Jacob Jaffe, Charles Stewart III, and Jacob Coblentz. 2018 “Modeling Voting
Service Times with Machine Logs.” Available at: https://dx.doi.org/10.2139/ssrn.3216178]
Adding just a few dozen voters to a precinct that has a reasonable average wait time (say, 10
minutes) can cause its average wait time to cascade to 30 or 45 minutes. As I show in the
rest of this section, SB202 will cause lines to be longer for Georgians than they otherwise
would have been, particularly among people of color.


4.2.1      Mail voting restrictions will push voters toward voting in-
           person or not voting at all
     Many of the election administration changes made by SB202 impact the way that voters
cast ballots by mail.56 While it may not seem that these changes would impact wait times
for in-person voters, queueing theory and political science research on voter behavior suggest
otherwise. Put simply, increasing accessibility of mail voting is one of the most effective ways
to shorten lines at polling places. As you increase the number of voters mailing in a ballot,
you decrease the congestion at polling places, thereby decreasing the chances of a long line.
SB202, however, adds several provisions that could make it less likely that voters will cast
ballots by mail. The consequence of these changes is that it will either push more voters
toward voting in-person (thereby increasing the length of lines) or being turned off from
  56
    Throughout this section I refer to “mail ballots” or “voting by mail.” I use these terms as synonyms to
“absentee ballots” or “absentee voting,” and as contrasts to Election Day, early/advanced/absentee in-person
voting.
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voting at all.
      Several major changes in SB202 impact the way in which voters can apply for and return
a mail ballot. The law limits mail balloting by adding multiple restrictions on mail ballot
applications. Amendments to Code Section 21-2-382(3)(A) place bans on any organization
from sending mail ballot applications to any voter who has already requested one. Similarly,
the law restricts any government officials from distributing mail ballot applications without
prior request by a voter. Organizations are also banned from distributing pre-filled mail
ballot applications. The law adds limits the number of dropboxes a county may set up for
returning mail ballots.
      Any provision that tightens the rules for casting a mail ballot removes a critical tool
available to local government for combating congestion at polling places. While it is beyond
the scope of this report to estimate the exact impact that these changes will have on how
many voters cast a mail ballot, it is reasonable to assume that these changes will not increase
the rates of voting by mail, and are much more likely to decrease mail voting rates.
      Even if these changes have a small impact on mail ballot rates in Georgia, they could
have substantial impact on line length, particularly in areas with high concentrations of
racial minorities where lines tend to already be long. To illustrate this, I used queueing
theory principles to estimate how wait times are impacted by adding in-person voters who
otherwise would have voted by mail. The idea of the simulations is to take two hypothetical
precincts–one with short lines and one with long lines–and assess the impact that voters
switching from mail to in-person voting would have on the wait times for people in those
precincts.
      In the first of these simulated precincts, I began with 200 voters arriving throughout
the 12 hours that the polling place was open. To account for the queueing principle that
clustered arrivals can impact wait times, roughly half of these voters arrived alone, one-third
arrived with another person, and the remaining voters arrived in groups of three, four, or
five. I calibrated number of seconds it takes to check-in a voter so that across simulations,
the average wait time for voters was just 10 minutes. I then re-ran the simulation, each time
increasing the number of in-person voters by 5 percentage points (i.e. from 200 voters, to
210, to 220, etc.).
      The top of Figure 4.1 shows the average number of minutes voters waited to check-in
across 1000 simulations of each scenario. There is a slight increase in the average wait time
as the number of voters increases from 200 in increments of 5 percentage points. The bottom
of the figure shows the percentage of voters who waited longer than 30 minutes. Again, while
there is a slight increase in these percentages as the number of in-person voters increases, the
changes are not dramatic.

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          Figure 4.1: Precinct A: 10 minute wait time when there are 200 voters




     The scenarios presented in Figure 4.1 show the distribution of wait times and percent of
voters experiencing a 30+ minute wait in Precinct A, depending on how many voters switch
from voting by mail to voting in-person. Voters in this polling place can expect to see modest
increases in the amount of time they wait in line, but even a 20 percentage point increase
in the number of in-person voters (resulting from people switching away from mail voting)
will not dramatically impact the experience of voters at polling places. When the number of
in-person voters jumps from 200 to 240, the average wait time increase from 9.8 minutes to
17.6, while the percentage of voters experiencing a 30+ minute wait goes from 6.4% to 19.9%.
     The scenarios in Precinct A are a sharp contrast to the simulations presented in Figure
4.2. In these simulations, I calibrated the model to mimic a precinct in Georgia that struggles
to keep up with the volume of voters. In this case, 200 in-person voters puts the polling place
at tremendous strain, with average wait times of approximately 30 minutes and about 40%
of voters waiting more than half-an-hour to vote.
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                  Table 4.1: Precinct A (standard errors in parentheses)

       Number of Voters     Avg. wait in minutes   Voters waiting more than 30min.
       200                  9.8 (3.9)              6.4% (8.1)
       210                  11.2 (4.7)             8.5% (10.0)
       220                  13.0 (5.7)             11.5% (12.1)
       230                  14.9 (6.7)             15.0% (13.9)
       240                  17.6 (8.7)             19.9% (16.5)

          Figure 4.2: Precinct B: 30 minute wait time when there are 200 voters




     What Figure 4.2 and Table 4.2 illustrate is how dramatic an impact even a small increase
in the number of voters can have. If just ten voters switch from casting a mail ballot to
voting in-person, the expected percentage of voters at this precinct experiencing a 30-minute
wait would jump from about 40% to nearly 50%. If the impact of SB202 on mail voting
is even larger, then the downstream effect on polling place lines becomes catastrophic. An

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                         Table 4.2: Precinct B (standard errors in parentheses)

           Number of Voters       Avg. wait in minutes   Voters waiting more than 30min.
           200                    29.6 (14.7)            39.7% (21.2)
           210                    36.2 (17.2)            49.0% (21.0)
           220                    46.2 (21.8)            58.8% (21.1)
           230                    55.3 (24.7)            65.8% (19.8)
           240                    67.9 (27.0)            72.9% (16.6)


average wait time of 30 minutes becomes more than an hour when 40 additional voters show
up at the polling place, and nearly three-quarters (72.9%) of voters will end up waiting in a
line that is longer than 30 minutes.
     The results in these graphs and tables highlight the principle of the “elbow of death.”
Even small changes to a precinct (like ten additional voters) can have significantly larger
impacts on places that are already near their capacity. When we take into account the fact
that Black and other non-white Georgia voters already experience longer wait times than
white Georgia voters, the implication becomes clear. Even if white and non-white Georgia
voters switch from mail voting to in-person voting at the exact same rates, the impact of
these switches will be much larger in non-white areas of the state, where precincts are already
operating under strain.
     My research on long lines also suggests another potential impact of tightening mail
voting rules on voters experiencing long lines to vote. I have found that voters who live in an
area with a long line in one election are significantly more likely to turn to voting-by-mail
in subsequent elections.57 This research shows that wide accessibility to mail voting can be
a useful approach for combating long lines. SB202 makes this conversion from in-person
voters into mail voters less likely by adding administrative barriers to voting by mail. The
consequence is that those voters will either remain in-person voters in subsequent elections
(making it more likely that long lines will persist) or they will abstain from voting entirely,
thereby dropping overall turnout.


4.2.2        Shortening the runoff election schedule will increase line
             length or decrease turnout
    Another major change in SB202 is that it changes the state’s runoff elections to be 4
weeks after a general or primary election, instead of the nine weeks it had been through 2020.
This 28 day window between preliminary and runoff election makes the schedule for early
  57
       Pettigrew 2021.

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in-person and mail voting extremely tight. First, the 28 day window is shortened by the fact
that the results of the preliminary election are never known instantly.
     Imagine that just one Georgia county does not complete its vote count and certification
process until the Thursday after Election Day. In this scenario, a candidate could potentially
request a recount, which they have two business days (Friday and the following Monday) to
do. This would delay any preparation for a potential runoff election until just 21 days before
the runoff. If the recount is granted, it would further cut into this 21 day window by at least
a day or two.
     Without knowing the results of the preliminary general or primary election, election
clerks may not know which races will appear on the runoff ballot, making it impossible to
send out mail ballots or prepare voting equipment for early voting. Voters may also not know
whether a runoff will actually be held or (possibly) which candidates qualified, pending the
results of the recount.
     This leaves, at absolute most, 19 or 20 days to prepare for the runoff. Voters who wish
to vote by mail must have their mail ballot application “received by the board of registrars
or absentee ballot clerk no later than 11 days prior to the. . . runoff” (Section 25 (a)(1)(A))
Accounting for postal delivery time, this means they would have to submit the application
by about 13 days before the runoff. This leaves less than a week for a voter to decide they
want to vote by mail.
     In the December 2022 Senate runoff, the biggest dropoff in turnout (compared to the
November general election) was in the mail ballot counts. While the total number of ballots
of all types in the runoff was about 90% of the ballot count in the general election, the
number of runoff mail ballots was only 78% of the general election mail ballot count. This
works out to be 54,821 fewer mail ballots counted in the Senate runoff than in the Senate
general election.58
     The situation for early in-person voting is even worse. Prior to SB202, early in-person
voting for runoff elections followed the same schedule as general and primary elections–16
mandated days of early voting. Under SB202, the early voting period for a runoff is now
required to begin “no later than the second Monday immediately prior to such runoff” (Section
28 (d)(1)(B)). Because early voting ends on the Friday before the election, this leaves only 5
days of mandated early voting for a runoff. The lack of mandated weekend voting will have a
bigger impact on racial minority voters (compared to white voters) because they tend to be
more likely to vote on weekends than weekdays.59 Counties have the option to begin early
  58
     These statistics were calculated by using the certified vote counts that are provided by the Georgia
Secretary of State’s office: https://results.enr.clarityelections.com/GA/.
  59
     See, for example, Herron and Smith. 2014. "Race, Party, and Consequences of Restricted Early Voting in
Florida in the 2012 General Election." Political Research Quarterly. 67 (3).

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voting earlier, but in 2022 only a handful of counties provided more than the 5 required days.
      It is difficult to overstate the impact that these changes could have on line length for
runoff elections. Fewer mail voters means either more in-person voters. Fewer days of early
voting means either longer lines on the remaining early voting days or longer lines on Election
Day. The only way that decreased mail voting and fewer early voting days does not impact
the length of lines is if voter turnout goes down.
      Although more comprehensive data were not available, I collected information about
wait times during the runoff early voting period in a few counties where it was available in
real time. Five counties–Clayton, Cobb, DeKalb, Fulton, and Gwinnett–displayed the current
wait time at all their early voting locations. These counties are five of the six most populous
counties in the state, making up more than a third (36%) of all the registered voters in the
state.
      On the Friday during the early voting period, I recorded every instance where a voting
location updated the current wait time that displayed in each county’s public dashboard. In
all, I collected 742 wait time reports from the 66 early voting locations in these 5 counties.
The data presented a clear picture that lines were catastrophically long on this day of early
voting.
      Of the 742 reports, 703 of them (94.7%) indicated that the wait time at the early voting
location was currently at least 30 minutes. 496 reports (66.8%) indicated the line was longer
than an hour. Of the 66 locations, 60 had a line of at least 30 minutes during the afternoon
and evening that I captured the data. 48 locations had an hour-long line at some point on
that day. And nearly a quarter of early voting sites (15) had a line that exceeded two hours.
      Figure 4.3 provides a full picture of these 742 wait time reports. Each dot on the graph
represents one of these reports. The all the reports from an specific early voting location are
grouped vertically, with a bar extending from the shortest to the longest reported wait time
at that location.
      The figure shows that Fulton and Gwinnett Counties had the longest lines on this early
voting day. Every single one of Fulton’s 24 early voting locations had a line of at least 30
minutes at some point, and 21 of 24 had a line at least over 60 minutes. In Gwinnett County,
all 11 early voting sites reported a wait of at least 45 minutes. Early voting sites in DeKalb
County avoided lines in excess of two hours, but still have 11 of their 16 sites report a line
over 1 hour. Lines in Cobb County were the best of these five counties, and yet 8 of their 12
early voting locations reported a line longer than 30 minutes.
      If the wait times in these counties on Friday are indicative of what they were throughout
the rest of the week, the 658,690 early voters in these five counties waited, on average, about
61 minutes to cast their ballot. These voters made up roughly 38% of all the early voters in

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            Figure 4.3: Wait times during early voting on Friday before runoff




the state. If you make the extremely generous assumption that early voters in the remaining
154 Georgia counties waited exactly 0 minutes to vote, you still end up with a statewide
average wait time of over 23 minutes–nearly at the maximum reasonable wait time threshold
prescribed by the PCEA Report.


4.2.3    Changes to early voting hours will not solve Georgia’s long
         line problem
     Another major administrative change in SB202 is its rules on when early voting sites
must be open. Previously, local election officials had more discretion in the days and hours
that voters could cast a ballot prior to Election Day. Under SB202, counties are now required
to offer early voting on every weekday and Saturday, beginning 22 days prior to Election Day
and ending on the Friday before Election Day. During these days, advanced voting locations
must be open from 9:00am through 5:00pm, and officials have the option to have them open

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from 7:00am through 7:00pm. Sunday voting is not required under SB202, although county
officials have the option of opening polling places on Sundays during the early voting period.
      The bill claims that these changes in scheduling requirements will “dramatically increase
the total voting hours” for Georgia voters. If it were the case that the law will have a dramatic
impact on early voting hours, then it could have a positive impact on line length and wait
times. However, my analysis below shows that these rules will have a minimal impact on line
length for two reasons. First, most Georgia voters (and disproportionately white voters) live
in a county that–prior to SB202–already offered at least as many hours of early voting as are
required by SB202. Second, counties where lines were the longest in recent elections already
tend to offer the most hours of early voting; the counties that will expand early voting hours
under SB202 already had short lines.

                      Figure 4.4: Total early voting hours in Georgia counties




     Figure 4.4 illustrates the first point. In it, each dot represents one Georgia county
in the November 2020 election.60 On the horizontal axis is the total number of registered
 60
      The data provided by the State did not include early voting hours for Cook County in 2020.
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voters, and on the vertical axis is the total number of hours of early voting, adding up the
number of hours each early voting site was open on each day. The black horizontal line at
136 represents the minimum number of hours of early voting required by SB202 (8-hours of
voting on 15 weekdays, plus 8 hours of voting on 2 Saturdays). It is worth pointing out that
SB202 provides guidance on the minimum number of early polling places a county must have
open–only that they must have at least one site that is open during the 136 hours specified
in the law.61 Of course, many large counties provide for many more than one early voting
site. Fulton County, for example, had 37 early voting sites that were open about 8 hours a
day for all 21 days of early voting–over 6,200 hours of early voting.
      The clear take-away from Figure 4.4 is that counties that had fewer than 136 early
voting hours in 2020 tended to be much smaller than the counties that met the requirements
of SB202 before it was even adopted. 98 counties met the 136-hour standard, while 60 fell
below that bar. Of those 60 counties, 20 of them had at least 134 hours and in most cases
those counties needed to extend their Saturday closing time from 4:00pm to 5:00pm. The
clear upward trend in this graph shows that larger counties are less likely to have to make
changes to their early voting hours to comply with SB202.62
      One possibility with this analysis is that by multiplying the available voting hours across
all polling places, the graph may be masking counties that have lots of early voting sites
but not many hours that they are open. Figure 4.5 assuages this concern. This graph is
similar to the previous one, except this time the vertical axis shows the total number of early
voting hours available in at least one location. If a county has five early voting sites open
for 8 hours on the Friday before Election Day, that will only count as 8 hours in this graph,
rather than 40 (as with the previous graph). The take-away from this graph is similar to
the previous one. Counties with fewer voters are significantly more likely to fall below the
136-hour threshold, and thus require an expansion of early voting hours.
      The reason this relationship between county size and hours of early voting is important
is because it directly impacts how much SB202’s changes can affect wait times. Table 4.4
provides an idea of how many voters will be affected by requiring every county to offer 136
hours of early voting. The 6.0 million voters represented in the top row of the table live in
the 98 counties that will not have to add early voting hours to comply with SB202. The
middle row represents the 483k Georgia voters who live in a county that will have to add less
  61
      It is worth pointing out that while most Georgia counties will not have to add hours to comply with
SB202, some will have to shift their opening/closing times on particular days to comply with the 9-to-5:00
requirement of SB202. Coweta County provides the most common example of this. In November 2020, the
weekdays hours in Coweta were 8:30am to 4:30pm. In the May 2022 primary election, Coweta shifted its
early voting hours to 9:00am to 5:00pm to comply with SB202.
   62
      This positive correlation between registered voters and total early voting hours is statistically significant
(p < 0.01).

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                Figure 4.5: Available early voting hours in Georgia counties




than two hours to comply with the law. And the bottom row shows the 481k voters living in
a county that will add more than two hours. This means that the wait times of 86.2% of
Georgia’s registered voters cannot be affected by the early voting provisions of SB202, since
they live in a county that will not be required to expand early hours. Half of the remaining
13.8% of voters live in a county that will only be required to add a couple hours of early
voting.
     Georgia’s voter registration data also makes it clear that whatever positive impacts
will come from expanding early voting hours in these 60 counties will disproportionately


  Table 4.3: How many voters will be impacted by expanded early voting requirements?

         2020 early hours    sample   Reg. voters   Percent white    Percent Black
         136+                   783   6,029,607     50.6%            30.8%
         134-135.5               62   482,977       69.4%            18.7%
         <134                    52   480,864       66.7%            22.6%

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        Table 4.4: How much can expanded early voting requirements help fix long lines?

                        2020 early hours       Avg. 2020 wait   Pct >30min in 2020
                        136+                   28.8 min.        26.7%
                        134-135.5              19.2 min.        15.5%
                        <134                   19.5 min.        10.1%


benefit white voters. Of the voters who live in counties that will not have to expand early
voting, 50.6% are white and 30.8% are Black. The other two groups of voters are considerably
more white–nearly 70%–and less Black–around 20%. This means that the group with that
experiences the longest wait times to vote–Black voters–also has the least potential to be
positively impacted by this provision in SB202.
     The final reason that SB202’s expanded early voting requirements are unlikely to alleviate
long lines is that the counties most affected already have the shortest lines. Table 4.4 shows
the 2020 wait time statistics for voters who live in counties that will or will not be affected
by expanded early voting hours. As the table makes clear, voters who live in counties that
had least 136 hours of early voting in 2020 experienced longer lines than those in counties
that will expand early voting under SB202. Voters in the first category were 11.2 percentage
points more likely to wait longer than 30 minutes to vote than voters who will experience a
small increase in early voting hours.63 And they were 16.6 percentage points more likely to
experience a long wait than those in counties with larger expansions of early voting.64 .
     While setting minimum thresholds for early voting hours in Georgia is a welcome change
to the law, I see no evidence in the data to suggest that this change will make a noticeable
dent in the long wait times experienced by Georgia voters. The vast majority of voters live in
counties that will not be required to change their early voting hours to comply with SB202.
These voters also live in areas that tend to be afflicted by longer lines to vote–a problem that
this provision of SB202 will not solve. Moreover, to the extent that the changes could have a
small impact on wait times in some counties, that impact is more likely to be felt by white
Georgia voters, who make up a significantly larger proportion of the voters impacted by this
provision.


4.2.4         Shrinking precincts will not shorten lines
     Another provision of SB202 that relates to line length is the requirement that a precinct
be split apart if it had more than 2,000 voters and a line that persisted at least one hour past
  63
       Statistically significant at p < 0.01
  64
       Statistically significant at p < 0.01


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poll closing time. While it seems logical that smaller polling places translate into shorter
lines, this provision is unlikely to have the desired effect on line length, and may actually
exacerbate the problem.
     To understand why this is the case, it is important to understand that long wait times
arise because the ratio of voters-to-resources (like poll workers, check-in machines, or vote-
casting machines) is too high. My research (Pettigrew 2016) finds that under-resourced
precincts is one of the biggest drivers of long lines. A precinct with 2,000 voters and 50
vote-casting machines is likely to have shorter lines than a precinct with 200 voters, but only
3 vote-casting machines.
     Without requiring or providing money to counties to acquire additional resources for
these problematic precincts, SB202 runs the risk of making the line problem worse for more
voters. If you split a precinct in half and divvy the voting machines equally between then,
you have not improved the voters-per-machine ratio. Lines are just as likely to develop.
Even worse, if the resources cannot be equally divided (if, for example, there were 7 check-in
stations in the old precinct), then the new precinct that received fewer resources is likely to
experience lines that are even longer than before. And because lines grow non-linearly, the
result could be that the average wait time across all voters in both precincts is actually worse
than it would have been if the precincts had been kept as one. On top of all of that, research
has shown that drawing new precinct boundaries can create voter confusion. A voter who
finds out they are at the wrong location when they check-in to vote make the line longer for
everybody behind them. SB202 also limits that voter’s ability to vote by disallowing them
from casting an out-of-precinct provisional ballot if it is earlier than 5:00pm.
     Lastly, this change would not impact the vast majority of voters. In the November 2020
general election, only about 1-in-5 Georgia voters voted on Election Day. The other 80%
of voters would not be affected by this change. And even among the 20% of Election Day
voters, the majority of them do not live in a precinct that exceeds the 2,000 voters minimum
for this provision to apply.




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Section 5:             Consequences of long lines


      I turn now to the consequences that long lines have on voters. The most basic impact of
waiting in a line is the time burden placed upon the voter—what has been referred to as a
“time tax.”65 Compared to those who live in areas with consistently short lines, voters who
live in areas with chronically long lines must sacrifice more of their time to exercise their
right to vote. This can be a particular burden for people who have less flexibility in their
schedule, whether because they have constraints in their work schedule or because they have
childcare or eldercare responsibilities.
      In addition to these direct consequences of long lines, political scientists have considered
two ways that lines can impact voters. First, they have estimated the impact that lines have
on voter turnout in the current or future election. Second, they have considered the impact
that lines have on voters’ confidence in the integrity of the electoral system as a whole.


5.1     Long lines decrease voter turnout in future elections

     Perhaps the most impactful consequence of long lines is the effect that they have on
voter turnout. There are two ways in which lines can have an impact on turnout. The first
occurs when a voter joins the line but leaves before casting their ballot. This is referred to in
queueing theory as “reneging.” Although it is difficult to collect data on reneging, the studies
that do exist find, perhaps unsurprisingly, that longer lines tend to have higher numbers
of people who renege by leaving the line.66 Lines with as few as five people in them can
significantly increase the chance that somebody will leave the line before voting.67 Some of
these voters may return at another time to cast a ballot, but limiting voting hours or early
voting opportunities diminishes their opportunities to do so.
     The second, and more significant, way in which long lines can impact voter turnout is by
deterring voters from ever joining the line at all–referred to in queueing theory as “balking.”
I have found in my own research, published in Electoral Studies, that the longer a voter waits
in a line in one election, the less likely they are to vote in the next election.68 Voters who
  65
     Elora Mukherjee. 2013. "Abolishing the Time Tax on Voting." Notre Dame Law Review 85(1).
Donald L. Davison and Michael Krassa. 2019. "Time Taxes and Voting Queues: The Voting Rights Act after
Shelby County, Alabama v. Holder (2013)." National Political Science Review 20(1).
  66
     Spencer and Markovits. 2010.
  67
     Stein, et al. 2020.
  68
     Stephen Pettigrew. 2021. “The downstream consequences of long waits: How lines at the precinct depress
future turnout.” Electoral Studies 71.

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waited more than one hour were 1.6 percentage points less likely to turnout in future elections
than voters who waited less than 15 minutes. And those who waited between 31 and 60
minutes were one percentage point less likely compared to those where lines were short.
      To arrive at these estimates, I used several different data sources and statistical ap-
proaches. Using demographic and turnout history information, I paired voters who lived in
neighborhoods with long lines to voters in neighborhoods with short lines. This approach
allowed me to conclude that, “When selecting two voters from the same state, who are the
same race and similar age, have the identical turnout history, and live in neighborhoods
with nearly identical demographic profiles, the voter who lives in the neighborhood with an
average wait of more than an hour was 1.6 percentage points less likely to vote. . . than their
counterpart in a neighborhood with an average wait of less than 15 minutes.”69
      Other researchers have found similar results using different data sources and empirical
approaches. Cottrell, Herron and Smith (2020) using precinct-level data in Florida to compare
voters in polling places with short lines to those with long lines.70 They find that each hour
an in-person voter spends waiting in line to vote is associated with a one percentage point
drop in the likelihood of future turnout. They characterize this finding as “qualitatively
similar” to the result in my own work.
      While these effect sizes may seem small, it is important to remember the large number
of people affected by long lines in Georgia. In the 2020 presidential election, 8.7 percent of
in-person voters in Georgia waited more than 60 minutes to vote and another 15.9 percent
waited between 31 and 60 minutes. There were over 3.67 million ballots cast in-person in the
presidential race, meaning that approximately 319,000 Georgians waited longer than an hour
and another 583,000 waited between 31 and 60 minutes.
      Based on the estimates of the effects of long lines on turnout, this translates into nearly
9,000 voters who would not have turned out in 2022, due to their experience in a long line in
2020. In a state as closely divided as Georgia–President Biden won the state by just under
12,000 votes in 2020–a drop-off of several thousand voters can be hugely consequential on
electoral outcomes. Even more consequently, I showed in Section 3.3 that long lines tend to
afflict voters of color more than white voters. Because of this, dropoff in future turnout due
to long lines will more heavily affect those communities of racial minorities. Policies, like
SB202, that increase the length of lines diminish the political power of racial minorities.
  69
    Pettigrew, 2021.
  70
    David Cottrell, Michael C. Herron, and Daniel A. Smith. 2021. “Voting Lines, Equal Treatment, and
Early Voting Check-In Times in Florida.” State Politics & Policy Quarterly. 21(2), pp 109-138.




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5.2     Long lines diminish voter confidence in the integrity of elections

     One of the main justifications provided in SB202 for changing Georgia’s election ad-
ministration laws was that it would help improve confidence in the electoral system as a
whole. The bill, which is titled the “Electoral Integrity Act of 2021,” alludes to a “significant
lack of confidence in Georgia election systems” and suggests that the legislation is meant
to “address the lack of elector confidence in the election system.” Political science research
on the topic of voter confidence has found that one of the biggest drivers of a person’s
confidence in the accuracy of an election’s results is whether or not their preferred candidate
won.71 Voters who supported a winning presidential candidate are about 22 percentage points
more likely to believe that their own vote was properly counted and 32 percentage points
more likely to trust in the vote count in their county. This provides some explanation for
why some Republican voters in 2020 were open to the message that the election had been
stolen. Thinking specifically about Georgia, political science research would predict that
voter confidence among Georgia Republicans–which was extremely low following Republican
losses in most statewide races in 2020–should bounce back in 2022 after the Republicans won
elections for all eight statewide Constitutional offices. This bounce-back in confidence would
have happened regardless of whether SB202 existed or not.
     Although it is not possible to have a democratic system in which every voter’s preferred
candidate wins, research has found that there are some ways in which legislators and
policymakers can have an impact on voters’ perceptions of electoral integrity. The key way
to do this is by improving the quality of the voting process, particularly when it comes to
what might be referred to as the “customer service” aspect of elections. Voters who feel like
they received good customer service at the polling place are more confident that poll workers
will properly count their vote and that the final results are accurate.
     Research has found that long lines are one of the biggest ways to erode voter confidence.
My own research72 has found that the longer somebody waits in line to vote, the less confident
they are that their vote was counted correctly. Figure 5.1 reproduces Figure A1 from that
research. It shows that of voters who did not wait at all, 71% reported being “very confident”
that their vote was counted properly. Only 61% of voters who waited between 31 and 60
minutes and just 58% of those who waited more than an hour had that confidence. These
dropoffs, which are statistically significant (p < 0.01), demonstrate the important role that
the precinct experience can have on voters’ overall beliefs about election integrity.
  71
     Sances, Michael W. and Charles Stewart III. 2015. “Partisanship and confidence in the vote count:
Evidence from US national elections since 2000.” Electoral Studies 40. 176-188.
  72
     Pettigrew, Stephen. 2021. “The downstream consequences of long waits: How lines at the precinct
depress future turnout.” Electoral Studies 71.

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              Figure 5.1: Voter confidence in the electoral system, by wait time




     Other researchers have studied the issue of long lines and voter confidence and reached
similar conclusions. Herron, Smith, Serra, and Bafumi find in their 2017 article that voters
who waited in a long line were significantly less confident that their ballot would be counted
properly.73 They also find that those voters were also significantly less confidence that the
contents of their ballot would remain a secret. The authors summarize their findings by
saying, “voters who experience long lines may be disproportionately skeptical that their votes
will be kept secret or will be counted” and that this finding, “should be a concern to all local
election administrators.”
     These findings suggest that SB202 has the potential to have a net-negative impact on
voters’ confidence in the electoral system. As Georgia voters find it more difficult to vote
by mail, they will either not vote at all or opt to vote in-person. If they choose the latter
  73
    Michael C. Herron, Daniel A. Smith, Wendy Serra, and Joseph Bafumi. 2017. “Wait Times and Voter
Confidence. A Study of the 2014 Midterm Election in Miami-Dade County.” From Races, Reforms, & Policy:
Implications of the 2014 Midterm Elections. Edited by Christopher J. Galdieri, et al. University of Akron
Press.

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approach, my analysis suggests that they make it more likely that all voters in their precinct
will encounter long lines, casting doubt upon the integrity of the electoral system in the
minds of those voters.



     I declare under penalty of perjury that the foregoing is true and correct. I reserve the
right to supplement this report in light of additional facts, testimony, and/or materials that
may come to light. Executed on January 13, 2023 in Philadelphia, Pennsylvania.




    Stephen Pettigrew, PhD




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Appendix A:            Supplemental material for analyses


A.1    Sample sizes of CCES data




           Table A.1: Total number of respondents in the CCES/CES surveys

                           Year   Nationwide   Georgians
                           2006   36,421       1,188
                           2008   32,800       889
                           2012   54,535       1,759
                           2014   56,200       1,732
                           2016   64,600       2,062
                           2018   60,000       1,925
                           2020   61,000       2,002
                                        47
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A.2    Analysis of SPAE data


             Figure A.1: Voters waiting more than 30 minutes (SPAE data)




                     Figure A.2: Average wait time (SPAE data)




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A.3    Voters waiting more than 60 minutes


                   Figure A.3: Voters waiting more than 60 minutes




            Figure A.4: Voters waiting more than 60 minutes, by vote mode




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A.4    Wait times in each state




                                      50
                                                                      Figure A.5: Voters waiting more than 30 minutes in presidential elections, by state
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                                                                                                                                                            51
                                                                      Figure A.6: Voters waiting more than 30 minutes in midterm elections, by state
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                                                                      Figure A.7: Average wait time in presidential elections, by state




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                                                                      Figure A.8: Average wait time in midterm elections, by state




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 Table A.2: Voters waiting over 30 minutes, from regressions with demographic controls

       Year   Voters            Other states    Georgia       Difference      P value
       2008   All in-person     14.4% (0.3)     34.3% (1.5)   19.9pp. (1.5)   <0.01
       2012   All in-person     11.8% (0.2)     17.4% (1.0)   5.5pp. (1.0)    <0.01
       2014   All in-person     2.1% (0.1)      2.6% (0.5)    0.6pp. (0.5)    0.254
       2016   All in-person     9.1% (0.2)      15.4% (0.9)   6.3pp. (0.9)    <0.01
       2018   All in-person     5.4% (0.1)      16.2% (0.7)   10.8pp. (0.7)   <0.01
       2020   All in-person     17.4% (0.3)     24.5% (1.2)   7.1pp. (1.2)    <0.01
       2008   Early in-person   19.9% (0.7)     38.6% (2.2)   18.7pp. (2.3)   <0.01
       2012   Early in-person   16.7% (0.5)     21.3% (1.6)   4.6pp. (1.7)    <0.01
       2014   Early in-person   2.5% (0.2)      4.4% (0.8)    1.9pp. (0.8)    0.017
       2016   Early in-person   11.2% (0.4)     17.4% (1.2)   6.2pp. (1.3)    <0.01
       2018   Early in-person   6.3% (0.3)      13.0% (1.0)   6.6pp. (1.0)    <0.01
       2020   Early in-person   19.5% (0.4)     27.8% (1.5)   8.3pp. (1.6)    <0.01
       2008   Election Day      12.8% (0.3)     28.0% (2.2)   15.2pp. (2.2)   <0.01
       2012   Election Day      10.3% (0.2)     14.4% (1.3)   4.0pp. (1.3)    <0.01
       2014   Election Day      2.0% (0.1)      1.6% (0.6)    -0.4pp. (0.6)   0.510
       2016   Election Day      8.3% (0.2)      12.6% (1.2)   4.3pp. (1.3)    <0.01
       2018   Election Day      5.0% (0.2)      20.2% (1.0)   15.2pp. (1.0)   <0.01
       2020   Election Day      15.4% (0.3)     17.0% (2.2)   1.6pp. (2.2)    0.473


A.5    Differences in line length between Georgia and other states,
       using regression with demographic controls




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  Table A.3: Average wait time, from regressions with demographic controls

 Year   Voters            Other states    Georgia      Difference       P value
 2008   All in-person     15.1 (0.2)      39.8 (1.3)   24.7min. (1.3)   <0.01
 2012   All in-person     13.6 (0.2)      15.9 (0.9)   2.3min. (0.9)    <0.01
 2014   All in-person     4.4 (0.1)       7.5 (0.3)    3.1min. (0.3)    <0.01
 2016   All in-person     10.9 (0.1)      15.2 (0.6)   4.3min. (0.6)    <0.01
 2018   All in-person     8.0 (0.1)       17.9 (0.4)   9.9min. (0.5)    <0.01
 2020   All in-person     17.9 (0.2)      27.1 (1.0)   9.2min. (1.0)    <0.01
 2008   Early in-person   21.2 (0.6)      49.6 (2.2)   28.4min. (2.3)   <0.01
 2012   Early in-person   18.2 (0.5)      18.9 (1.6)   0.7min. (1.6)    0.668
 2014   Early in-person   4.6 (0.2)       7.1 (0.6)    2.5min. (0.6)    <0.01
 2016   Early in-person   12.6 (0.2)      17.1 (0.8)   4.4min. (0.9)    <0.01
 2018   Early in-person   8.6 (0.2)       16.5 (0.6)   7.9min. (0.7)    <0.01
 2020   Early in-person   20.5 (0.3)      32.2 (1.3)   11.7min. (1.4)   <0.01
 2008   Election Day      13.3 (0.2)      24.9 (1.7)   11.6min. (1.7)   <0.01
 2012   Election Day      12.2 (0.2)      13.5 (1.0)   1.3min. (1.1)    0.214
 2014   Election Day      4.4 (0.1)       7.6 (0.4)    3.2min. (0.4)    <0.01
 2016   Election Day      10.3 (0.1)      12.7 (0.8)   2.4min. (0.8)    <0.01
 2018   Election Day      7.8 (0.1)       19.5 (0.6)   11.7min. (0.7)   <0.01
 2020   Election Day      15.6 (0.2)      15.4 (1.6)   -0.2min. (1.6)   0.898




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A.6    Relationship between race and line length


             Figure A.9: Average wait time of white and non-white voters




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                Figure A.10: Average wait time, by race




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Regression results that corresponds with Figure 3.10:

                          Table A.4: Wait times since 2006

                                     DV: Minutes waiting to vote
                                      (1)                  (2)
            People of color       2.79∗∗ (0.97)
            Black                                     3.64∗∗∗ (1.06)
            Hispanic                                  −1.59 (2.45)
            Other race                                 1.37 (2.15)
            Age                 −0.07∗∗ (0.03)       −0.07∗∗ (0.03)
            Bachelors             1.07 (0.92)          1.22 (0.92)
            EDay voters         −7.50∗∗∗ (0.88)      −7.43∗∗∗ (0.88)
            Intercept            29.96 (63.87)        34.51 (63.89)
            Observations             5,884                5,884
            R2                       0.17                  0.18
            Note:               County and year fixed effects included
                                * p<0.05; ** p<0.01; *** p<0.001

Regression results that corresponds with Figure 3.11:

                    Table A.5: Wait times in presidential elections

                                     DV: Minutes waiting to vote
                                       (1)                   (2)
            People of color       5.05∗∗∗ (1.45)
            Black                                     5.29∗∗∗ (1.59)
            Hispanic                                    0.34 (3.68)
            Other race                                 6.95∗ (3.17)
            Age                  −0.07 (0.04)         −0.08 (0.04)
            Bachelors             0.89 (1.39)          0.82 (1.40)
            EDay voters         −15.06∗∗∗ (1.30)     −15.05∗∗∗ (1.30)
            Intercept            2.54 (74.79)          7.34 (74.86)
            Observations              3,755                3,755
            R2                        0.14                  0.14
            Note:               County and year fixed effects included
                                * p<0.05; ** p<0.01; *** p<0.001




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Regression results that corresponds with Figure 3.12:

                    Table A.6: Wait times in November 2020

                                   DV: Minutes waiting to vote
                                    (1)                  (2)
            People of color    10.45∗∗ (3.64)
            Black                                  10.49∗ (4.14)
            Hispanic                                3.66 (8.76)
            Other race                             14.35∗ (7.23)
            Age                0.26∗ (0.11)        0.25∗ (0.11)
            Bachelors           3.09 (3.40)         3.05 (3.42)
            EDay voters       −17.00∗∗∗ (3.64)    −17.04∗∗∗ (3.66)
            Intercept          8.05 (60.38)        8.25 (60.42)
            Observations            897                 897
            R2                      0.23                0.23
            Note:             County and year fixed effects included
                              * p<0.05; ** p<0.01; *** p<0.001




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Appendix B:       Curriculum Vitae




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Work Experience

University of Pennsylvania                                                           Philadelphia, PA
   Deputy Executive Director: Robert A. Fox Leadership Program                        Dec. 2017–pres.
   Director of Data Sciences: Program on Opinion Research                             Dec. 2017–pres.
        and Electoral Studies

NBC News                                                                               New York, NY
  Senior Analyst: Decision Desk and Data Analytics Lab                                Dec. 2017–pres.

MIT Election Data and Science Lab                                                     Cambridge, MA
   Project Manager                                                              Apr. 2017–Nov. 2017
   Data Scientist                                                               Sept. 2011–Apr. 2017

Education
Harvard University                                                                    Cambridge, MA
   PhD: Political Science                                                                  May 2017
   Dissertation: Long Lines and Voter Purges: The Logistics of Running Elections
                      in America
   Master of Arts: Statistics                                                               Mar. 2014

University of Georgia                                                                     Athens, GA
   Master of Arts: Political Science and International Affairs                              May 2011
   Bachelor of Arts: Political Science & History (Double Major)                             May 2011

Peer-Reviewed Publications
“Trumped by Trump? Public Support for Vote By Mail During the COVID-19 Pandemic.” Election
    Law Journal. Forthcoming.

“The Downstream Consequences of Long Waits: How Lines at the Precinct Depress Future Turnout.”
   Electoral Studies 71. June 2021.

“Protecting the Perilous Path of Election Returns: From the Precinct to the News.” with Charles
    Stewart. Ohio State Technology Law Journal. 15: (2). Summer 2020.

“Abstention, Protest, and Residual Votes in the 2016 Election.” with Michael Alvarez, Charles Stewart,
   and Cameron Wimpy. Social Science Quarterly. 101: (3). March 2020.

“The Race Gap in Wait Times: Why Minority Precincts are Underserved by Local Election Officials.”
   Political Science Quarterly 132: (3). Fall 2017. pp 527-547.

“Comment on ‘Estimating the Reproducibility of Psychological Science’” with Daniel Gilbert, Gary
   King, and Tim Wilson. Science 351: (6277). March 4, 2016.

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“Hosting the Olympic Games: An Overstated Advantage in Sports History.” with Danyel Reiche.
    International Journal of the History of Sport 33: (6-7). March-April 2016. pp 635-647.
“How the West will be Won: Using Monte Carlo Simulations to Estimate the Effects of NHL
   Realignment.” Journal of Quantitative Analysis in Sports 10 (3). September 2014. pp 345-356.
“Strategic Politicians, Partisan Roll Calls, and the Tea Party: Evaluating the 2010 Midterm Elections.”
    with Jamie Carson. Electoral Studies 32: (1). March 2013. pp 26-36.

Other Political Science Publications
“Uncertainty over a blue wave: NBC News finds Democratic and GOP voter registrations at same level
   as past election cycles” NBC News. Oct. 16, 2018. With John Lapinski, Stephanie Perry, and
   Rezwana Uddin.
“Improving the Voter Experience: Reducing Polling Place Wait Times by Measuring Lines and
    Managing Polling Place Resources” Bipartisan Policy Center. April 2018. With John Fortier, Tim
    Harper, Charles Stewart, and Matthew Weil.
“The United States is Getting Better at Running Elections.” The Monkey Cage. August 9, 2016. With
   Charles Stewart
“Elections Performance Index: Methodology 2014” The Pew Charitable Trusts. August 2016.
“These are the Two Pivotal Senators if There’s a Vote to Replace Scalia.” The Monkey Cage. February
   14, 2016.
“The 2014 Elections that Ended in a Tie.” FiveThirtyEight. December 5, 2014.
“Elections Performance Index: Methodology 2012” The Pew Charitable Trusts. April 2014.
“Republican Advantages in Candidate Recruitment in 2014 have Led to an Increasingly Polarized House
    of Representatives.” with Jamie Carson. London School of Economics American Politics and Policy
    Blog. September 17, 2013.
“Elections Performance Index: Methodology 2008-2010” The Pew Center for the States. February 2013.

Professional Talks and Testimony
Testimony before the Subcommittee on Elections for the Committee on House Administration of the
    United States House of Representatives. Hearing on ”Voting in America: The Potential for Polling
    Place Quality and Restrictions on Opportunities to Vote to Interfere with Free and Fair Access to
    the Ballot.” June 11, 2021. Link to written testimony.
Panel on Efficiency, Security and Equity. Georgia College and State University. Election Integrity
    Symposium. Spring 2021.
“What Happens Behind the Scenes on Election Night.”
   University of Texas at Tyler. March 2021.
   University of Pennsylvania (Wharton). December 2021.
   New York University. October 2019.
   Columbia University. October 2019.
   University of Georgia. October 2019.
   Dartmouth College. May 2019.
   Second Measure. August 2018.
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“Everything is Data: How to Use Numbers to Answer the Questions You’ve Always Had.” University of
    Georgia Honors Program. October 2015.

Guest lecturer in “Election Law and Participation” seminar. Bates College. May 2015.

Teaching Experience
PSCI207: Applied Data Science (UPenn)                                       S2018, S2019, F2019, S2021
    with Dr. John Lapinski and Samantha Sangenito
    Topics: R programming • Survey research • Experiments
PSCI107: Introduction to Data Science (UPenn)                                                  Fall 2020
    with Dr. Marc Trussler
    Topics: R programming • Data science
17.20: Introduction to the American Political Process (MIT)                                  Spring 2016
    with Dr. Devin Caughey
    Topics: American political institutions • Mass opinion and behavior
Gov2002: Causal Inference                                                                      Fall 2015
    with Dr. Matt Blackwell
    Topics: Experimental design • Instrumental variables • Regression discontinuity • Matching
    Harvard University Certificate of Distinction in Teaching (2015)
Gov2001: Advanced Quantitative Research Methodology                                    Spring 2014, 2015
    with Dr. Gary King
    Topics: Maximum likelihood estimation • Predictive modeling • Missing data
    Harvard University Certificate of Distinction in Teaching (2014, 2015)
Gov1540: The American Presidency                                                   Fall 2013, 2014, 2015
    with Dr. Roger Porter
    Topics: Presidential power • Interbranch relations • Elections • Presidential decision making
    Harvard University Certificate of Distinction in Teaching (2015)
Harvard Government Math Pre-fresher                                                      Aug. 2013, 2014
    Topics: Probability • Matrix algebra • Calculus • Optimization • R programming

Conference Presentations
“Protecting the Perilous Path of Election Returns: From the Precinct to the News.” Symposium on
    Elections in the Era of Technological Threats and Opportunities. Moritz College of Law. Ohio
    State University. January 2020. Columbus, OH. With Charles Stewart.

“Education Weighting in the National Exit Poll” American Association of Public Opinion Researchers
   Annual Conference. May 2019. Toronto, ON.

“Moved Out, Moved On: Assessing the Effectiveness of Registration List Maintenance” Election
   Sciences, Reform, & Administration Conference. July 2016. Portland, OR.

“The Downstream Consequences of Long Waits: How Lines at the Precinct Depress Future Turnout”
   American Political Science Annual Meeting. September 2016. Philadelphia, PA.

“How Long Lines Affect Turnout.” Society for Political Methodology Annual Meeting. July 2016.
   Houston, TX.

“Home Advantage at the Olympics: Will Brazil Win More Medals than Usual?” Who Will Win in Rio?
   Conference. July 2016. Cambridge, MA.
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“The Downstream Consequences of Long Waits: How Lines at the Precinct Depress Future Turnout”
   Yale Center for the Study of American Politics Conference. June 2016. New Haven, CT.

“The Downstream Effects of Long Lines: How Long Waits at the Precinct Depress Future Turnout”
   Midwest Political Science Association Annual Meeting. April 2016. Chicago, IL.

“A Population Model of Voter Registration and Deadwood” Midwest Political Science Association
    Annual Meeting. April 2016. Chicago, IL. With Charles Stewart.

“Why the Home Advantage at the Olympic Games is Overrated: Relating Host Medals to Increased
   Participation” World Congress on Elite Sport Policy. November 2015. Melbourne, Australia. With
   Danyel Reiche.

“A Population Model of Voter Registration and Deadwood” New Research on Election Administration
    and Reform. June 2015. Cambridge, MA. With Charles Stewart.

“Time Tax: Which Groups Wait in the Longest Lines on Election Day?” Western Political Science
    Association Annual Meeting. April 2015. Las Vegas, NV.

“Assessing the Offensive Productivity of NHL Players using In-game Win Probabilities.” MIT Sloan
    Sports Analytics Conference. February 2015. Boston, MA.
       Best research paper award finalist

“How the West will be Won: Using Monte Carlo Simulations to Estimate the Effects of NHL
   Realignment.” New England Symposium on Statistics in Sports. September 2013. Cambridge, MA.

“Evaluating New Representatives: How Redistricting Disrupts Congressional Representation” American
    Political Science Association Annual Meeting. August 2013. Chicago, IL. With Brian Schaffner and
    Stephen Ansolabehere.

“Redistricting and the Personal Vote in 2012” 2013 CCES Sundance Conference. May 2013. Sundance,
    UT. With Stephen Ansolabehere.

“The Electoral Value of Seniority: Does Incumbent Tenure Affect the Attitudes of Voters?” Midwest
   Political Science Association Annual Meeting. April 2013. Chicago, IL. With Stephen
   Ansolabehere.

“Competition and Candidate Emergence Decisions in U.S. House Primaries, 2000-2010” Midwest
   Political Science Association Annual Meeting. April 2012. Chicago, IL.

“Strategic Politicians, the Great Recession, and the Tea Party Movement: Evaluating the 2010 Midterm
    Elections.” Midwest Political Science Association Annual Meeting. March 2011. Chicago, IL. With
    Jamie Carson.

Sports Analytics Research and Publications
Winners View: Data analytics consultant                                        April 2016–June 2016
Philadelphia 76ers: Basketball analytics consultant                        July 2014–November 2014
Rink Stats: My hockey analytics blog                                              June 2013–Present
Wall Street Journal
     The Madness Machine                                                             March 16, 2015
     As NBA Playoffs Begin, Odds of Beating the Heat                                  April 19, 2014
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     The Stanley Cup: What are the Odds?                                               April 16, 2014
     NCAA Tournament: Our Sorry, Broken Brackets                                        April 7, 2014
     2014 Sochi Olympics: Why Canada will Rule (Again) in Hockey                     February 7, 2014
FiveThirtyEight
     Is There Home-Field Advantage At The Olympics? With Danyel Reiche.               August 9,    2016
     Playoff Hockey is 36 Percent More Bone-Crushing                                   April 15,   2015
     How To Tell If A March Madness Underdog is Going to Win                          March 19,    2015
     After Signing Day, Wisconsin Makes The Best Of Its Recruits                     February 4,   2015
Deadspin
     How Those 3-on-3 Overtime Rules Would Cut Down NHL Shootouts                     March 18,    2015
     Are Outdoor Hockey Games Really Sloppier?                                      February 19,   2015
     Are Teams Better or Worse in Must-Score Shootout Situations?                  December 22,    2014
     The College Gameday Curse is Real...For Some Teams With Lucas Puente.         September 5,    2014
     11 Million Brackets vs. ESPN, CBS, and FOX Experts: Who was Better?               April 10,   2014
     How the Long-Change OT Could Cut NHL Shootouts by a Third                        March 12,    2014

Awards and Distinctions
APSA Elections, Public Opinion, and Voting Behavior Graduate Student Travel Award - Sept. 2016
Best Research Paper Finalist - 2015 Sloan Sports Analytics Conference
Harvard University Certificate of Distinction in Teaching (four times)
Phi Beta Kappa
University of Georgia Honors International Studies Scholar
University of Georgia Charter Scholar
Eagle Scout

Professional Service
Theses Advised
     Bayley Tuch. 2020-2021. “Vote Mirages in the 2020 Election: How Vote-by-Mail Policies Impact
        the Reporting of Election Results.” Undergraduate senior thesis. University of Pennsylvania.
        Winner of Philo Bennett Prize for best thesis in American politics and/or political theory.
Conferences Organized
     Election Sciences, Reform, and Administration Conference. University of Pennsylvania. July 2019.
     Political Analytics Conference. Harvard University. April 2016, March 2017, November 2018.
     Who Will Win in Rio? Understanding Political, Economic, and Athletic Success at the 2016
         Olympic Games. Harvard University. July 2016.
Publicly Available Datasets
     November 2018 General Election Results (county level)
     November 2016 General Election Results (county level)
     U.S. House Primary Election Results (1956-2010)
     Cumulative CCES Common Content (2006-2012)
     Essential Files to Generate Pew Elections Performance Index
     Cleaned 2014 Election Administration and Voting Survey Data
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Cleaned 2012 Election Administration and Voting Survey Data
Cleaned 2010 Election Administration and Voting Survey Data
Cleaned 2008 Election Administration and Voting Survey Data




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